         Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 1 of 54 PageID #: 1




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  /# !$.'*0-/*!- /#$//*0)/4                
  & )/0&4/# !$.'*0-/*!'2 ''              ANAD;LAGF)G  3:21-CV-00326-CHB
  *0)/4& )/0&4/# !$.'*0-/*!                
  '$)/*)*0)/4& )/0&4/# !$.'                 %M<?= Claria Horn Boom
  *0-/*!#--$.*)*0)/4& )/0&4                  
  /# !$.'*0-/*!#-/*0)/4                     
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                     +D9AFLA>>K 
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        (&$). 4*(+)4 $) 0)$/ 
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    
                      =>=F<9FLK 




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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 2 of 54 PageID #: 2




            /@=!AK;9DGMJLG>J=9L@ALLGMFLQGF:=@9D>G>J=9L@ALLGMFLQYJ=9L@ALLGMFLQZ 

    L@=!AK;9DGMJLG>9D<O=DDGMFLQGF:=@9D>G>9D<O=DDGMFLQY9D<O=DDGMFLQZ L@=

    !AK;9DGMJLG>DAFLGFGMFLQGF:=@9D>G>DAFLGFGMFLQYDAFLGFGMFLQZ L@=!AK;9DGMJL

    G>#9JJAKGFGMFLQGF:=@9D>G>#9JJAKGFGMFLQY#9JJAKGFGMFLQZ L@=!AK;9DGMJLG>#9JL

    GMFLQGF:=@9D>G>#9JLGMFLQY#9JLGMFLQZ L@=!AK;9DGMJLG>'9-M=GMFLQGF:=@9D>

    G> '9-M= GMFLQ Y'9-M= GMFLQZ  L@= !AK;9D GMJL G> 'G?9F GMFLQ GF :=@9D> G> 'G?9F

    GMFLQ Y'G?9F GMFLQZ L@= !AK;9D GMJL G> (9KGF GMFLQ GF :=@9D> G> (9KGF GMFLQ

    Y(9KGFGMFLQZ L@=!AK;9DGMJLG>(=J;=JGMFLQGF:=@9D>G>(=J;=JGMFLQY(=J;=J

    GMFLQZ  9F< L@= !AK;9D GMJL G> /G<< GMFLQ GF :=@9D> G> /G<< GMFLQ Y/G<< GMFLQZ

    ;GDD=;LAN=DQY+D9AFLA>>KZ:JAF?L@AKD9OKMAL9?9AFKL(;&AFK=QGEH9FQ $F; Y(;&AFK=QZ

    GJY=>=F<9FLZLGJ=;GN=JL9PH9Q=JEGF=Q9F<J=KGMJ;=KKH=FLLG;GE:9LL@=GHAGA<=HA<=EA;

    OJ=9CAF?@9NG;GF+D9AFLA>>K\;GEEMFALA=K +D9AFLA>>KKH=F<KA?FA>A;9FL9EGMFLKLGHJGL=;LALK

    J=KA<=FLK>JGEL@=GHAGA<=HA<=EA;L@9LAKL9CAF?9<9ADQ <=9<DQLGDDAFL@=AJ;GEEMFALA=K 9F<

    ;GMFLA=K 9;JGKK L@= F9LAGF  9K=< MHGF H=JKGF9D CFGOD=<?=  AF>GJE9LAGF  :=DA=>  9F<

    AFN=KLA?9LAGFG>;GMFK=D +D9AFLA>>KKH=;A>A;9DDQ9DD=?=

                                               

                  /@AK;9K=9JAK=K>JGEL@=OGJKLE9F E9<=;JAKAKAFE=JA;9FE=<A;9D@AKLGJQL@=

    GN=J HJ=K;JAHLAGF  EAKMK= 9F< 9:MK= G> GHAGA<K  /@AK GHAGA< =HA<=EA; O9K >M=D=< :Q <=;=HLAN=

    E9JC=LAF?KLJ9L=?A=KL@9L=PH9F<=<GHAGA<HJ=K;JAHLAGF ;J=9LAF?GN=JMK=9F<9<<A;LAGF 

                  GMFLQ9F<;ALQ?GN=JFE=FLKH=J>GJE>MF;LAGFKL@9L9J=9LL@=N=JQ@=9JLG>GMJ

    <=EG;J9;Q DG;9DK=D> ?GN=JF9F;= =;9MK=G>=>=F<9FL\K=?J=?AGMKOJGF?<GAF? >GJL@=D9KLLOG

    <=;9<=K  AF 9<<ALAGF LG HJGNA<AF? L@=K= =KK=FLA9D 9F< ;@9DD=F?AF? K=JNA;=K  ;GMFLQ 9F< ;ALQ

    ?GN=JFE=FLK@9N=:==F>9;AF?F=O;@9DD=F?=KJ=KMDLAF?>JGEL@=GHAGA<=HA<=EA; 

                  *HAGA<K9J==KLAE9L=<LGCADDMHO9J<KG>       E=JA;9FKH=J<9Q 9F<;GKL@=9DL@

                                                    

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 3 of 54 PageID #: 3




    K=JNA;=K HJGNA<=JK :ADDAGFK G> <GDD9JK H=J Q=9J :GL@ AF H9QE=FLK >GJ MFF=;=KK9JQ 9F< @9JE>MD

    HJ=K;JAHLAGFKG>L@=<JM?KL@=EK=DN=K9F<L@=;GKLKG>LJ=9LAF?L@=<AK=9K=K9F<AFBMJA=KL@=Q;9MK= 

                  ;;A<=FL9D<JM?GN=J<GK=<=9L@K G>O@A;@9LD=9KLLOG L@AJ<K9J=GHAGA< J=D9L=<

    GN=J<GK=K 9J=L@=D=9<AF?;9MK=G><=9L@>GJE=JA;9FKMF<=JL@=9?=G> 

                  ;;A<=FL9D<JM?GN=J<GK=<=9L@K HJ=<GEAF9FLDQ>JGEGHAGA<K =P;==<L@=FME:=J

    G><=9L@K;9MK=<:Q;9JOJ=;CKGJ?MFK 

                  /@==;GFGEA;:MJ<=F;9MK=<:QGHAGA<9:MK=AFL@=0FAL=<.L9L=KAK9HHJGPAE9L=DQ

     :ADDAGF AF;DM<AF?DGKLHJG<M;LANALQ9F<AF;J=9K=<KG;A9DK=JNA;=K @=9DL@AFKMJ9F;=;GKLK 

    AF;J=9K=<;JAEAF9DBMKLA;=HJ=K=F;=9F<KLJ9AFGFBM<A;A9DJ=KGMJ;=K 9F<KM:KL9F;=9:MK=LJ=9LE=FL

    9F<J=@9:ADAL9LAGF 

                  *F=;GEH9FQL@9L;9MK=<L@=GHAGA<=HA<=EA;X9F<ALKOA<=KHJ=9< LJ9?A;=>>=;LK

    GF;@AD<J=F9F<L@=K;@GGDKL@9LK=JN=L@=E AK+MJ<M=+@9JE9 ' + Y+MJ<M=ZL@=E9C=JKG>

    *PQ;GFLAF /@=HJAE9JQ9J;@AL=;LG>+MJ<M=\KMFD9O>MDHD9FLGK=DDEGJ=*PQ;GFLAF:Q9<<A;LAF?

    EGJ= H=GHD= :=;9E= ;GFKMDLAF? >AJE =>=F<9FL (;&AFK=Q  GEH9FQ  $F;  0FAL=< .L9L=K 

    Y(;&AFK=QZ 

                  *F(9Q         %G@FJGOFD== 0FAL=<.L9L=KLLGJF=Q>GJL@=2=KL=JFAKLJA;L

    G>1AJ?AFA9 9FFGMF;=<L@=?MADLQHD=9G>L@=+MJ<M=!J=<=JA;CGEH9FQ L@=H9J=FLG>+MJ<M=

    :=;9MK=G>L@=EAK:J9F<AF?G>+MJ<M=GHAGA<:J9F< *PQGFLAF JGOFD==KL9L=< 

          Y N=FAFL@=>9;=G>O9JFAF?K>JGE@=9DL@;9J=HJG>=KKAGF9DK L@=E=<A9 9F<E=E:=JK
          G>ALKGOFK9D=K>GJ;=L@9L*PQGFLAFO9K:=AF?OA<=DQ9:MK=<9F<;9MKAF?@9JELGGMJ
          ;ALAR=FK +MJ<M= MF<=JL@=D=9<=JK@AHG>ALKLGH=P=;MLAN=K ;GFLAFM=<LGHMK@9
          >J9M<MD=FLE9JC=LAF?;9EH9A?FL@9LHJGEGL=<*PQGFLAF9KD=KK9<<A;LAN= D=KKKM:B=;L
          LG9:MK= 9F<D=KKDAC=DQLG;9MK=OAL@<J9O9D $FL@=HJG;=KK K;GJ=K<A=<9K9J=KMDLG>
          *PQGFLAF9:MK=9F<9F=N=F?J=9L=JFME:=JG>H=GHD=:=;9E=9<<A;L=<LG*PQGFLAF
          9<JM?L@9L+MJ<M=D=<E9FQLG:=DA=N=O9KK9>=J D=KKKM:B=;LLG9:MK= 9F<D=KK
          9<<A;LAN=L@9FGL@=JH9AFE=<A;9LAGFKGFL@=E9JC=L Z
                                  
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                   ', *+!(*$+ + (',*(%
    '* . ',$('*   #,,)+///"(.& $* % + +   -+$' ++)-%+ ()$($+#,&%
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      Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 4 of 54 PageID #: 4




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                 DGF?OAL@L@=?MADLQHD=9 +MJ<M=9?J==<LG9GJHGJ9L=$FL=?JALQ?J==E=FLOAL@

  L@=*>>A;=G>$FKH=;LGJ"=F=J9DG>L@=0FAL=<.L9L=K=H9JLE=FLG>#=9DL@9F<#ME9F.=JNA;=K 

  !GJ9H=JAG<G>>AN=Q=9JK =F<AF?AF  +MJ<M=O9KG:DA?9L=<LGJ=L9AF9F$F<=H=F<=FL(GFALGJ

  9F<KM:EAL9FFM9D;GEHDA9F;=J=HGJLKJ=?9J<AF?ALKE9JC=LAF?9F<K9D=KHJ9;LA;=K9F<LJ9AFAF?G>

  K9D=KJ=HJ=K=FL9LAN=KNAK S NAKL@=AJAFL=J9;LAGFKOAL@@=9DL@;9J=HJGNA<=JK 

                 /@= GJHGJ9L= $FL=?JALQ ?J==E=FL AEHGK=< ;GFKLJ9AFLK GF +MJ<M=\K K9D=K 9F<

  E9JC=LAF?HJ9;LA;=K Q=L <=KHAL=L@=9?J==E=FL\K;GFKLJ9AFLKA = <GFGLDA=9:GML*PQGFLAF 

  +MJ<M= 9F< ALK ;GFLJGDDAF? GOF=JK  L@= .9;CD=J >9EADQ Y.9;CD=JKZ  KLADD AFL=F<=< LG ;GFLAFM=

  E9PAEARAF?*PQGFLAFK9D=K9F<L@=HJG>ALKL@=Q:JGM?@L 

                K9J=KMDLG>L@=   ?MADLQHD=9 L@=.9;CD=JKE9<=L@=KLJ9L=?A;<=;AKAGFLG>AF<

  O9QK LG <AKL9F;= L@=EK=DN=K >JGE +MJ<M=  O@A;@ :Q L@=F L@=Q J=?9J<=< 9K 9 <9F?=JGMK

  ;GF;=FLJ9LAGF G> GOF=JK@AH JAKC >GJ L@=EK=DN=K  9F< KGGF 9>L=J L@= ?MADLQ HD=9 O9K 9FFGMF;=<

  9NA< .9;CD=J OJGL= LG @AK >9L@=J  -A;@9J< .9;CD=J  9F< MF;D=  %GF9L@9F .9;CD=J  <=K;JA:AF?

  HJ=;AK=DQ O@9L L@9L YJAKCZ O9K D=?9D DA9:ADALQ >GJ K=DDAF? *PQGFLAF  $F J=KHGFK= LG %GF9L@9F

  .9;CD=J\K KL9LAF? L@9L YL@=J= AK FG :9KAK LG KM= L@= >9EADQ Z 9NA< .9;CD=J  <=FA?J9LAF? L@=

  E=JA;9FK 9<<A;L=< LG *PQ;GFLAF  J=HDA=< Y/@AK AK L@= D9F< G> L@= >J== 9F< L@= @GE= G> L@=

  :D9E=D=KK 2=OADD:=KM=< Z

                /@=LOG:J9F;@=KG>L@=.9;CD=JK;GFKA<=J=<L@=AJ<AKL9F;AF?GHLAGFK *F=O9KLG

  K=DD +MJ<M= GJ E=J?= AL OAL@ 9FGL@=J H@9JE9;=MLA;9D E9FM>9;LMJ=J 9F< HML L@= HJG;==<K AFLG

  <AN=JKA>A=<9KK=LK /@=K=;GF<GHLAGFO9KLGL9C=KM:KL9FLA9D<AKLJA:MLAGFKGMLG>+MJ<M=9F<K=;MJ=

  9DG9F>GJ+MJ<M=LGHJ=N=FLL@=<AKLJA:MLAGFK>JGE<9E9?AF?L@=;GEH9FQ\KGH=J9LAGFK 

                !GJ=AL@=JGHLAGFLGOGJC L@=.9;CD=JK ;GF>JGFL=<OAL@L@=GJHGJ9L=$FL=?JALQ

  ?J==E=FL F==<=<LG>AF<9O9QLGE9PAEAR=9<<A;LAN=GHAGA<K9D=KAFL@=K@GJLL=JELGE9C=

  +MJ<M=9LLJ9;LAN=>GJE=J?=JGJ9;IMAKALAGF GJ;J=<ALOGJL@QLG9D=F<=J 
                                                

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 5 of 54 PageID #: 5




                 2AL@GML L@= E=9FK AF @GMK= LG <=KA?F 9F< AEHD=E=FL 9 K9D=K KLJ9L=?Q >GJ

    *PQGFLAF LG K9LAK>Q L@= .9;CD=JK\ ?G9DK  +MJ<M= 9F< L@= .9;CD=JK :JGM?@L AF L@= ?DG:9D

    E9F9?=E=FL ;GFKMDLAF? >AJE  =>=F<9FL (;&AFK=Q  GEH9FQ  $F;  0FAL=< .L9L=K 

    Y(;&AFK=QZ  LG 9A< L@=E :Q ;J=9LAF? 9F< AEHD=E=FLAF? 9 HD9F >GJ =N9<AF? L@= KLJA;LMJ=K L@=

    GJHGJ9L=$FL=?JALQ?J==E=FLHD9;=<GFL@=E9JC=LAF?G>*PQGFLAF 

                 K OADD := <=L9AD=< AF L@AK GEHD9AFL  (;&AFK=Q\K HD9F 9F< ALK AEHD=E=FL9LAGF

    KM;;==<=<>GJ+MJ<M=9F<L@=.9;CD=JK 9F< O@=FL@=GJHGJ9L=$FL=?JALQ?J==E=FL=PHAJ=< L@=

    9JJ9F?=E=FL;GFLAFM=<>GJQ=9JKOAL@Y+JGB=;L/MJ:G;@9J?=ZHJG<M;AF?ADD ?GLL=FHJG>ALK>JGEL@=

    E9JC=LAF? HJGEGLAF? <AKLJA:MLAF? 9F<K=DDAF?G>=P;=KKAN=9EGMFLKG>*PQGFLAF:QOJGF?>MD

    E=9FK 

                   N=FLM9DDQ  (;&AFK=Q E9F9?=E=FL H=JKGFF=D  AF AFL=JF9D =E9ADK J=9;L=< LG L@=

    DA9:ADALQJAKCLGL@=E L@=IM=KLAGFO9KFGLO@=L@=JLG<=KLJGQ<G;ME=FLK9F<=E9ADK :MLO@9LLG

    <GAF9<<ALAGFLG<=KLJGQAF?L@9L=NA<=F;=




                                                                                                              

/@AF?K<A<?=LLGM?@=JL@=J= *F*;LG:=J   +MJ<M=9?9AFHD=<?MADLQLG>=<=J9D;JAE=K>GJALK

GHAGA< E9JC=LAF? W L@AK LAE= >GJ L@= Q=9JK    LG    O@=F L@GK= E9JC=LAF? 9;LANALA=K O=J=

                                                     

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 6 of 54 PageID #: 6




<=N=DGH=<9F<GN=JK==F:Q(;&AFK=Q +MJ<M=@9<9DJ=9<QKGM?@L:9FCJMHL;QHJGL=;LAGF:QL@=F 9

HJG;==<AF?L@9LHJ=K=FLDQHJ=N=FLK;ANADKMALK9?9AFKLL@=.9;CD=JK9KO=DD9K+MJ<M= 

                                         

             /@AK GMJL @9K KM:B=;L E9LL=J BMJAK<A;LAGF GN=J L@AK 9;LAGF HMJKM9FL LG  0 .   T

< :=;9MK=A+D9AFLA>>K9J=;ALAR=FKG>9KL9L=<A>>=J=FL>JGE=>=F<9FL(;&AFK=Q AAL@=

9EGMFL AF ;GFLJGN=JKQ =P;==<K                 =P;DMKAN= G> AFL=J=KL 9F< ;GKLK  9F< AAA FGF= G> L@=

=P;=HLAGFK MF<=J L@= KM:K=;LAGF 9HHDQ LG L@AK 9;LAGF  9F< HMJKM9FL LG  0 .   T   :9K=< GF

=>=F<9FL\KNAGD9LAGFKG>>=<=J9DD9O KH=;A>A;9DDQ0 .  T &54&2Y-9;C=L==J$F>DM=F;=<

9F<GJJMHL*J?9FAR9LAGFK;LZGJY-$*Z 0 .  TH=JL9AFAF?LG-$*BMJAK<A;LAGF 9F<

KMHHD=E=FL9DBMJAK<A;LAGFGN=JL@=KL9L=D9O;D9AEKK=L>GJL@:=DGOHMJKM9FLLGT :=;9MK=

L@GK=KL9L=D9O;D9AEK9J=KGJ=D9L=<LG+D9AFLA>>K\>=<=J9D;D9AEKL@9LL@=Q>GJEH9JLG>L@=K9E=;9K=

GJ;GFLJGN=JKQ 

             /@AK GMJL @9K H=JKGF9D BMJAK<A;LAGF GN=J =>=F<9FL (;&AFK=Q :=;9MK= +D9AFLA>>K\

;D9AEK9JAK=GMLG> GJJ=D9L=LG =>=F<9FL(;&AFK=Q\K;GFL9;LKOAL@&=FLM;CQ 

             L 9DD LAE=K J=D=N9FL @=J=LG  =>=F<9FL =F?9?=< AF L@= :MKAF=KK G> J=K=9J;@AF? 

<=KA?FAF? 9F<AEHD=E=FLAF?E9JC=LAF?9F<HJGEGLAF?KLJ9L=?A=K>GJGHAGA<E9FM>9;LMJ=J +MJ<M= AF

L@=.L9L=G>&=FLM;CQ9F<OAL@AF+D9AFLA>>K\GEEMFALA=K 

             /@AKGMJL@9KBMJAK<A;LAGFGN=J=>=F<9FL(;&AFK=Q<M=LGALK;GF<M;LAFJ=9L@ALL 

9D<O=DD DAFLGF #9JJAKGF #9JL '9-M= 'G?9F (9KGF (=J;=J 9F</G<<GMFLA=K 9F<L@JGM?@GML

&=FLM;CQ  (;&AFK=Q @9K <=DA:=J9L=DQ =F?9?=< AF KA?FA>A;9FL 9;LK 9F< GEAKKAGFK OAL@AF J=9L@ALL 

9D<O=DD  DAFLGF  #9JJAKGF  #9JL  '9-M=  'G?9F  (9KGF  (=J;=J  9F< /G<< GMFLA=K  L@9L @9N=

AFBMJ=<L@=AJJ=KA<=FLK (;&AFK=QHMJHGK=>MDDQ<AJ=;L=<ALK9;LANALA=KAFJ=9L@ALL 9D<O=DD DAFLGF 

#9JJAKGF #9JL '9-M= 'G?9F (9KGF (=J;=J 9F</G<<GMFLA=K 9F<L@=;D9AEK9JAK=GMLG>L@GK=

9;LANALA=K  1=FM= AK HJGH=J AF L@AK AKLJA;L :=;9MK= 9 KM:KL9FLA9D H9JL G> L@= =N=FLK ?ANAF? JAK= LG

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 7 of 54 PageID #: 7




+D9AFLA>>K\ ;D9AEK G;;MJJ=< AF  O=J= <AJ=;L=< LG  9F< GJ =E9F9L=< >JGE L@AK AKLJA;L   0 .   T

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                   +D9AFLA>>  L@= !AK;9D GMJL G> J=9L@ALL GMFLQ &=FLM;CQ AK DG;9L=< OAL@AF L@=

        9KL=JFAKLJA;LG>&=FLM;CQ +D9AFLA>>AK9ML@GJAR=<LG:JAF?L@=;9MK=KG>9;LAGF:JGM?@LAFL@AK

    D9OKMAL &&&-.  =Y/@=>AK;9D;GMJLE9QV P=J;AK=9DDL@=;GJHGJ9L=HGO=JKG>

    L@=;GMFLQMFD=KKGL@=JOAK=HJGNA<=<:QD9OV Z&-. GMFLQ>AK;9D;GMJL;@9J?=<

    OAL@Y9:9L=E=FLG>HM:DA;FMAK9F;=K Z150/7!)*5-&:06/5:  . 2 < &Q 

    Y/@=>AK;9D;GMJLAKVN=KL=<OAL@L@=HJAE9JQJA?@LLG:JAF?9DDKMALKGF:=@9D>G>L@=

    ;GMFLQ Z $LKG>>A;=K9J=DG;9L=<AF%9;CKGF J=9L@ALLGMFLQ &=FLM;CQ 

                   +D9AFLA>>  L@= !AK;9D GMJL G> 9D<O=DD GMFLQ &=FLM;CQ AK DG;9L=< OAL@AF L@=

    2=KL=JFAKLJA;LG>&=FLM;CQ +D9AFLA>>AK9ML@GJAR=<LG:JAF?L@=;9MK=KG>9;LAGF:JGM?@LAFL@AK

    D9OKMAL &&&-.  =Y/@=>AK;9D;GMJLE9QV P=J;AK=9DDL@=;GJHGJ9L=HGO=JKG>

    L@=;GMFLQMFD=KKGL@=JOAK=HJGNA<=<:QD9OV Z&-. GMFLQ>AK;9D;GMJL;@9J?=<

    OAL@Y9:9L=E=FLG>HM:DA;FMAK9F;=K Z150/7!)*5-&:06/5:  . 2 < &Q 

    Y/@=>AK;9D;GMJLAKVN=KL=<OAL@L@=HJAE9JQJA?@LLG:JAF?9DDKMALKGF:=@9D>G>L@=

    ;GMFLQ Z $LKG>>A;=K9J=DG;9L=<AF+JAF;=LGF 9D<O=DDGMFLQ &=FLM;CQ 

                   +D9AFLA>>  L@= !AK;9D GMJL G> DAFLGF GMFLQ &=FLM;CQ AK DG;9L=< OAL@AF L@=

    2=KL=JFAKLJA;LG>&=FLM;CQ +D9AFLA>>AK9ML@GJAR=<LG:JAF?L@=;9MK=KG>9;LAGF:JGM?@LAFL@AK

    D9OKMAL &&&-.  =Y/@=>AK;9D;GMJLE9QV P=J;AK=9DDL@=;GJHGJ9L=HGO=JKG>

    L@=;GMFLQMFD=KKGL@=JOAK=HJGNA<=<:QD9OV Z&-. GMFLQ>AK;9D;GMJL;@9J?=<

    OAL@Y9:9L=E=FLG>HM:DA;FMAK9F;=K Z150/7!)*5-&:06/5:  . 2 < &Q 

    Y/@=>AK;9D;GMJLAKVN=KL=<OAL@L@=HJAE9JQJA?@LLG:JAF?9DDKMALKGF:=@9D>G>L@=

    ;GMFLQ Z $LKG>>A;=K9J=DG;9L=<AFD:9FQ DAFLGFGMFLQ &=FLM;CQ 

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 8 of 54 PageID #: 8




                   +D9AFLA>>  L@= !AK;9D GMJL G> #9JJAKGF GMFLQ &=FLM;CQ AK DG;9L=< OAL@AF L@=

        9KL=JFAKLJA;LG>&=FLM;CQ +D9AFLA>>AK9ML@GJAR=<LG:JAF?L@=;9MK=KG>9;LAGF:JGM?@LAFL@AK

    D9OKMAL &&&-.  =Y/@=>AK;9D;GMJLE9QV P=J;AK=9DDL@=;GJHGJ9L=HGO=JKG>

    L@=;GMFLQMFD=KKGL@=JOAK=HJGNA<=<:QD9OV Z&-. GMFLQ>AK;9D;GMJL;@9J?=<

    OAL@Y9:9L=E=FLG>HM:DA;FMAK9F;=K Z150/7!)*5-&:06/5:  . 2 < &Q 

    Y/@=>AK;9D;GMJLAKVN=KL=<OAL@L@=HJAE9JQJA?@LLG:JAF?9DDKMALKGF:=@9D>G>L@=

    ;GMFLQ Z $LKG>>A;=K9J=DG;9L=<AFQFL@A9F9 #9JJAKGFGMFLQ &=FLM;CQ 

                   +D9AFLA>> L@=!AK;9DGMJLG>#9JLGMFLQ&=FLM;CQAKDG;9L=<OAL@AFL@=2=KL=JF

    AKLJA;LG>&=FLM;CQ +D9AFLA>>AK9ML@GJAR=<LG:JAF?L@=;9MK=KG>9;LAGF:JGM?@LAFL@AKD9OKMAL 

    &&&-.  =Y/@=>AK;9D;GMJLE9QV P=J;AK=9DDL@=;GJHGJ9L=HGO=JKG>L@=;GMFLQ

    MFD=KK GL@=JOAK= HJGNA<=< :Q D9OV Z &-.   GMFLQ >AK;9D ;GMJL ;@9J?=< OAL@

    Y9:9L=E=FLG>HM:DA;FMAK9F;=K Z150/7!)*5-&:06/5:  . 2 < &Q 

    Y/@=>AK;9D;GMJLAKVN=KL=<OAL@L@=HJAE9JQJA?@LLG:JAF?9DDKMALKGF:=@9D>G>L@=;GMFLQ Z 

    $LKG>>A;=K9J=DG;9L=<AF(MF>GJ<NADD= #9JLGMFLQ &=FLM;CQ 

                   +D9AFLA>>  L@= !AK;9D GMJL G> '9-M= GMFLQ &=FLM;CQ AK DG;9L=< OAL@AF L@=

    2=KL=JFAKLJA;LG>&=FLM;CQ +D9AFLA>>AK9ML@GJAR=<LG:JAF?L@=;9MK=KG>9;LAGF:JGM?@LAFL@AK

    D9OKMAL &&&-.  =Y/@=>AK;9D;GMJLE9QV P=J;AK=9DDL@=;GJHGJ9L=HGO=JKG>

    L@=;GMFLQMFD=KKGL@=JOAK=HJGNA<=<:QD9OV Z&-. GMFLQ>AK;9D;GMJL;@9J?=<

    OAL@Y9:9L=E=FLG>HM:DA;FMAK9F;=K Z150/7!)*5-&:06/5:  . 2 < &Q 

    Y/@=>AK;9D;GMJLAKVN=KL=<OAL@L@=HJAE9JQJA?@LLG:JAF?9DDKMALKGF:=@9D>G>L@=

    ;GMFLQ Z $LKG>>A;=K9J=DG;9L=<AF#G<?=FNADD= '9-M=GMFLQ &=FLM;CQ 

                   +D9AFLA>>  L@= !AK;9D GMJL G> 'G?9F GMFLQ &=FLM;CQ AK DG;9L=< OAL@AF L@=

    2=KL=JFAKLJA;LG>&=FLM;CQ +D9AFLA>>AK9ML@GJAR=<LG:JAF?L@=;9MK=KG>9;LAGF:JGM?@LAFL@AK

    D9OKMAL &&&-.  =Y/@=>AK;9D;GMJLE9QV P=J;AK=9DDL@=;GJHGJ9L=HGO=JKG>

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 9 of 54 PageID #: 9




    L@=;GMFLQMFD=KKGL@=JOAK=HJGNA<=<:QD9OV Z&-. GMFLQ>AK;9D;GMJL;@9J?=<

    OAL@Y9:9L=E=FLG>HM:DA;FMAK9F;=K Z150/7!)*5-&:06/5:  . 2 < &Q 

    Y/@=>AK;9D;GMJLAKVN=KL=<OAL@L@=HJAE9JQJA?@LLG:JAF?9DDKMALKGF:=@9D>G>L@=

    ;GMFLQ Z $LKG>>A;=K9J=DG;9L=<AF(9QKNADD= 'G?9FGMFLQ &=FLM;CQ 

                   +D9AFLA>>  L@= !AK;9D GMJL G> (9KGF GMFLQ &=FLM;CQ AK DG;9L=< OAL@AF L@=

        9KL=JFAKLJA;LG>&=FLM;CQ +D9AFLA>>AK9ML@GJAR=<LG:JAF?L@=;9MK=KG>9;LAGF:JGM?@LAFL@AK

    D9OKMAL &&&-.  =Y/@=>AK;9D;GMJLE9QV P=J;AK=9DDL@=;GJHGJ9L=HGO=JKG>

    L@=;GMFLQMFD=KKGL@=JOAK=HJGNA<=<:QD9OV Z&-. GMFLQ>AK;9D;GMJL;@9J?=<

    OAL@Y9:9L=E=FLG>HM:DA;FMAK9F;=K Z150/7!)*5-&:06/5:  . 2 < &Q 

    Y/@=>AK;9D;GMJLAKVN=KL=<OAL@L@=HJAE9JQJA?@LLG:JAF?9DDKMALKGF:=@9D>G>L@=

    ;GMFLQ Z $LKG>>A;=K9J=DG;9L=<AF(9QKNADD= (9KGFGMFLQ &=FLM;CQ 

                   +D9AFLA>>  L@= !AK;9D GMJL G> (=J;=J GMFLQ &=FLM;CQ AK DG;9L=< OAL@AF L@=

        9KL=JFAKLJA;LG>&=FLM;CQ +D9AFLA>>AK9ML@GJAR=<LG:JAF?L@=;9MK=KG>9;LAGF:JGM?@LAFL@AK

    D9OKMAL &&&-.  =Y/@=>AK;9D;GMJLE9QV P=J;AK=9DDL@=;GJHGJ9L=HGO=JKG>

    L@=;GMFLQMFD=KKGL@=JOAK=HJGNA<=<:QD9OV Z&-. GMFLQ>AK;9D;GMJL;@9J?=<

    OAL@Y9:9L=E=FLG>HM:DA;FMAK9F;=K Z150/7!)*5-&:06/5:  . 2 < &Q 

    Y/@=>AK;9D;GMJLAKVN=KL=<OAL@L@=HJAE9JQJA?@LLG:JAF?9DDKMALKGF:=@9D>G>L@=

    ;GMFLQ Z $LKG>>A;=K9J=DG;9L=<AF#9JJG<K:MJ? (=J;=JGMFLQ &=FLM;CQ 

                    +D9AFLA>> L@=!AK;9DGMJLG>/G<<GMFLQ&=FLM;CQAKDG;9L=<OAL@AFL@=2=KL=JF

    AKLJA;LG>&=FLM;CQ +D9AFLA>>AK9ML@GJAR=<LG:JAF?L@=;9MK=KG>9;LAGF:JGM?@LAFL@AKD9OKMAL 

    &&&-.  =Y/@=>AK;9D;GMJLE9QV P=J;AK=9DDL@=;GJHGJ9L=HGO=JKG>L@=;GMFLQ

    MFD=KK GL@=JOAK= HJGNA<=< :Q D9OV Z &-.   GMFLQ >AK;9D ;GMJL ;@9J?=< OAL@

    Y9:9L=E=FLG>HM:DA;FMAK9F;=K Z150/7!)*5-&:06/5:  . 2 < &Q 

    Y/@=>AK;9D;GMJLAKVN=KL=<OAL@L@=HJAE9JQJA?@LLG:JAF?9DDKMALKGF:=@9D>G>L@=;GMFLQ Z 

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 10 of 54 PageID #: 10




    $LKG>>A;=K9J=DG;9L=<AF DCLGF /G<<GMFLQ &=FLM;CQ 

                 =>=F<9FL(;&AFK=QGEH9FQ $F; 0FAL=<.L9L=KAK9>GJ=A?F;GJHGJ9LAGFOAL@

    ALKHJAF;AH9DG>>A;=9L/@AJ<N= )=O4GJC )4          $LE9Q:=K=JN=<OAL@HJG;=KKL@JGM?@

    ALK J=?AKL=J=< 9?=FL  GJHGJ9LAGF .=JNA;= G    .L9L= .LJ==L  D:9FQ  )=O 4GJC  )4   

    <<ALAGF9DDQ  (;&AFK=Q  L@GM?@ ALK 9>>ADA9L=  (;&AFK=Q  GEH9FQ  $F;  29K@AF?LGF   AK

    J=?AKL=J=<LG<G:MKAF=KKAF&=FLM;CQ9F<E9Q:=K=JN=<OAL@HJG;=KKL@JGM?@ALKJ=?AKL=J=<9?=FL 

    GJHGJ9LAGF.=JNA;=G 2=KL(9AF.LJ==L!J9FC>GJL &=FLM;CQ   

                                                   

                  +(2,1,'2,'(/,&

                 *F *;LG:=J      L@= 0FAL=< .L9L=K <=;D9J=< L@= GHAGA< ;JAKAK 9 HM:DA; @=9DL@

    =E=J?=F;Q /@9LQ=9J GHAGA<GN=J<GK=KO=J=J=KHGFKA:D=>GJEGJ=L@9F                 E=JA;9F<=9L@K 

    9F<9JGMF< EADDAGFH=GHD=KM>>=J=<>JGE9<<A;LAGFJ=D9L=<LGHJ=K;JAHLAGFGHAGA<K ;;GJ<AF?

    LGJ=;=FL=KLAE9L=K 9KE9FQ9K H=GHD=AFL@=0FAL=<.L9L=K<A==N=JQ<9Q>JGEGHAGA<GN=J<GK=K 

    OAL@9KE9FQ9KH=J;=FLG>>9L9DGN=J<GK=KAFNGDNAF?HJ=K;JAHLAGFGHAGA<K 

                 /@=GHAGA<;JAKAK9F<J=D9L=<=PH=FK=K;GFLAFM=LG?JGO ;;GJ<AF?LG9J=HGJLAKKM=<

    GF!=:JM9JQ   :QDL9JME 9FGFHJG>AL@=9DL@KQKL=EKJ=K=9J;@GJ?9FAR9LAGF L@=;GKLG>L@=

    ;GMFLJQ\K GHAGA< ;JAKAK AK =KLAE9L=< LG @9N= =P;==<=<  LJADDAGF >JGE      LG    9F< O9K

    HJGB=;L=<LG@9N=;GKL9F9<<ALAGF9D      :ADDAGF:Q  




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    
    1*0*%7&3%04&3*4*4 )$#)9LAGF9D$FKLALML=GFJM?:MK=%9F   
@LLHK OOO <JM?9:MK= ?GN <JM?K 9:MK= GHAGA<K GHAGA< GN=J<GK= ;JAKAKGF= 
  
    %*N=J<GK==9L@K$FNGDNAF?+J=K;JAHLAGF*HAGA<K =FL=JK>GJAK=9K=GFLJGD9F<+J=N=FLAGF 
@LLHK OOO ;<; ?GN <JM?GN=J<GK= <9L9 HJ=K;JA:AF? GN=J<GK= <=9L@ E9HK @LEDD9KLNAKAL=<.=HL  
  
    
        #,4!25-%"           
(4403 !,4!25-/2' .%73 %#/./-)#4/,,/0)/)$#2)3)353%8#%%$%$ 42),,)/.    
                                                     

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      Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 11 of 54 PageID #: 11




           

                 /@=F9LAGFOA<=<=;=HLAN=E9JC=LAF?9F<K9D=G>GHAGA<KLGLJ=9L;@JGFA;H9AFAKGF=

  G>L@=E9AF<JAN=JKG>L@=GHAGA<=HA<=EA; +J=K;JAHLAGFGHAGA<K9J=HGO=J>MDH9AFE=<A;9LAGFKL@9L

  @AKLGJA;9DDQ@9N=:==FMK=<>GJK@GJL L=JE HGKL KMJ?A;9D9F<LJ9ME9 J=D9L=<H9AF 9F<>GJH9DDA9LAN=

  =F< G> DA>=;9J=HJAE9JADQAF;9F;=JH9LA=FLK =;9MK=GHAGA<K9J=@A?@DQ9<<A;LAN=9F<<9F?=JGMK 

  L@= 0 .  !GG< 9F< JM? <EAFAKLJ9LAGF J=?MD9L=K L@=E 9K .;@=<MD= $$ GFLJGDD=< .M:KL9F;=K  9




  ;D9KKA>A;9LAGFJ=K=JN=<>GJ<JM?KL@9L@9N=9@A?@HGL=FLA9D>GJ9:MK=9F<L@9LE9QD=9<LGK=N=J=

  HKQ;@GDG?A;9DGJH@QKA;9D<=H=F<=F;= 

                 &=FLM;CQ@9K:==F@AL@9J<:QL@=GHAGA<=HA<=EA; $F  &=FLM;CQHJGNA<=JK

  OJGL= GHAGA<HJ=K;JAHLAGFK>GJ=N=JQ           H=JKGFK;GEH9J=<LGL@=9N=J9?=0 . J9L=G> 

  HJ=K;JAHLAGFK (;&AFK=QA<=FLA>A=<H9JLA;MD9J;GMFLA=K9F<LGOFK 9F<=N=FH9JLA;MD9JH@9JE9;A=K 

  LG >DGG< OAL@ GHAGA<K   $F    L@=J= O=J=    <JM? GN=J<GK= <=9L@K AFNGDNAF? GHAGA<K AF

  &=FLM;CQ 9J9L=G> <=9L@KH=J               H=JKGFK /@AKAK<GM:D=L@=J9L=AF        9F<LOA;=9K



                                   
  
    ', *+!(*$+ + (',*(%'* . ',$(')$($* +*$$'", )+  ,( *  ,*$ . !*(&
#,,)+///"(.*-"(. *(+ &)+*0*, &)+#,&%
                                                        

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      Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 12 of 54 PageID #: 12




  @A?@ 9K L@= F9LAGF9D J9L= G>   <=9L@K H=J             H=JKGFK  /@= LGL9D FME:=J G> &=FLM;CQ

  GN=J<GK= <=9L@K >JGE   L@JGM?@    9L    GMLKLJAHH=< L@= LGL9D FME:=J G> @A?@O9Q

  >9L9DALA=KAFL@=KL9L=:QEGJ=L@9F          

                 /@=GHAGA<;JAKAK@9K@9<9H9JLA;MD9JDQHJG>GMF<AEH9;LGFOGE=F O@G9J=EGJ=

  DAC=DQL@9FE=FLGKM>>=J>JGE;@JGFA;H9AF J=;=AN=HJ=K;JAHLAGFK>GJH9AFJ=DA=N=JK9F<AF@A?@=J

  <GK=K  9F< MK= L@=E >GJ DGF?=J H=JAG<K G> LAE=  2GE=F E9Q :=;GE= EGJ= <=H=F<=FL GF

  HJ=K;JAHLAGF H9AF J=DA=N=JK EGJ= IMA;CDQ L@9F E=F  +J=K;JAHLAGF H9AF J=DA=N=J GN=J<GK= <=9L@K

  9EGF?OGE=FAF;J=9K=<EGJ=L@9F              >JGELG  ;GEH9J=<LG9EGF?E=F /@=

  J9L=KG>)=GF9L9D:KLAF=F;=.QF<JGE= O@A;@G;;MJKO@=F9:9:QAK:GJF9<<A;L=<LGGHAGA<K9K9

  J=KMDLG>MK=:QL@=EGL@=J<MJAF?HJ=?F9F;Q @9N=9DKGAF;J=9K=<<J9E9LA;9DDQ )9LAGF9DDQ L@=

  ;GKLG>LJ=9LAF?)=GF9L9D:KLAF=F;=.QF<JGE=AF;J=9K=<>JGEEADDAGFAF                    LGF=9JDQ

  EADDAGFAF  

                  /2$&610 /(4,&$<5 1706,(5$0' ,6,(5
                    
                 !GJ LOG <=;9<=K  DG;9D ?GN=JFE=FLK @9N= :==F 9<<J=KKAF? L@AK E9BGJ LJ9?=<Q

  J=KMDLAF?>JGEL@=F9LAGFOA<=GHAGA<=HA<=EA;9F<L@=OJGF?<GAF?L@9L;9MK=<AL 

                  +D9AFLA>>K:JAF?L@AK9;LAGFGF:=@9D>G>L@=EK=DN=K:=;9MK=L@=Q:=9JL@=KL=9<ADQ

                                   
  
    $  '1$) * ,%# )$($$% ++#$'",('(+,,   
#,,)+////+#$'",(')(+,(&"*)#$+  $'. +,$",$('+/ +,.$*"$'$()$($% "%,,% !(+, ** 
   1*0*% %%*$5*0/  "$54*(63&4E=JA;9F.G;A=LQG><<A;LAGF(=<A;AF= 
@LLHK OOO 9K9E GJ? <G;K <=>9MDL KGMJ;= 9<NG;9;Q GHAGA< 9<<A;LAGF <AK=9K= >9;LK >A?MJ=K H<> 
   %
   %
  
     #9FF9@-9HHD=Q==L9D 03/ %%*$5&% )&6.#&30'1*0*% %%*$5&%"#*&4*40"3*/( )
)=OK *;L    @LLHK OOO F:;F=OK ;GE KLGJQDAF= 9E=JA;9K @=JGAF =HA<=EA; :GJF 9<<A;L=<
FME:=J GHAGA< 9<<A;L=< :9:A=K KG9JAF? F  3"."5*$/$3&"4&4*/"5&3/"-1*0*%4&"/%
&0/"5"- #45*/&/$&:/%30.& )9L\D$FKL GFJM?:MK= @LLHK OOO <JM?9:MK= ?GN J=D9L=<
LGHA;K LJ=F<K KL9LAKLA;K AF>G?J9H@A;K <J9E9LA; AF;J=9K=K AF E9L=JF9D GHAGA< MK= F=GF9L9D 9:KLAF=F;=
KQF<JGE=D9KLMH<9L=<.=HL   
  
     / GJJ . #GDD=F:=9C )&&$0/0.*$#63%&/0'/&0/"5"-"#45*/&/$&4:/%30.&*/5)&/*5&%
5"5&4 <<A;LAGF .=HL   "7"*-"#-&"5
@LLHK GFDAF=DA:J9JQ OAD=Q ;GE <GA 9:K   9<<  
                                                 

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 13 of 54 PageID #: 13




    JAKAF? ;GKLK G> HJGNA<AF? ?GN=JFE=FL9D 9F< J=D9L=< KMHHGJLK 9F< K=JNA;=K LG &=FLM;CQ J=KA<=FLK

    J=D9LAF?LGL@=GHAGA<;JAKAK 

                 +D9AFLA>>K @=DH >MF< <JM? ;GMJLK 9F< <JM? ;GMJL J=;GN=JQ HJG?J9EK L@9L AF;DM<=

    9<<A;LAGFLJ=9LE=FL $FJ=;=FLQ=9JK +D9AFLA>>K@9N=:==F>GJ;=<LGAF;J=9K=L@=AJ>MF<AF?G>L@=K=

    HJG?J9EK E9FQG>O@A;@9J=GHAGA< J=D9L=< 

                 +D9AFLA>>K @9N= AFN=KL=< AF GHAGA< GN=J<GK= HJ=N=FLAGF LJ9AFAF? >GJ L@=AJ >AJKL

    J=KHGF<=JK9F<AFL=J=KL=<;GEEMFALQE=E:=JK 

                 +D9AFLA>>K>MF<=E=J?=F;Q9F<9E:MD9F;=K=JNA;=K>GJL@=AJJ=KA<=FLK9F<@9N=K==F

    9KM:KL9FLA9DAF;J=9K=AFL@=9EGMFLG>=E=J?=F;QK=JNA;=KF==<=<<M=LGGHAGA< J=D9L=<=N=FLK 

                 +D9AFLA>>K@9N=:==F>GJ;=<LG>MF<9F=N=J AF;J=9KAF?FME:=JG>9MLGHKA=K<M=LGL@=

    =HA<=EA; /@=9MLGHKQ=PH=F<ALMJ=KGF:=@9D>G>L@=+D9AFLA>>K@9N=KA?FA>A;9FLDQAF;J=9K=< Q=9J

    GN=JQ=9J 

                 +D9AFLA>>K@9N=:==F>GJ;=<LGKH=F<KM:KL9FLA9D9EGMFLKG>EGF=QGFY)9J;9FZ9F<

    GL@=J E=<A;9LAGF <=KA?F=< LG LJ=9L GHAGA< GN=J<GK=K 9F< 9:MK= AF L@=AJ ;GEEMFALA=K >GJ L@=AJ

    =E=J?=F;QK=JNA;=K HJAKGFK=JNA;=K 9F<J=;GN=JQHJG?J9EK 

                 $F9F=>>GJLLGHJ=N=FLL@=KHJ=9<G>#$1 K=PM9DDQLJ9FKEALL=<<AK=9K=K9F<@=H9LALAK

    9F<9K9J=KMDLG>L@=GHAGA<;JAKAK K=N=J9DG>L@=+D9AFLA>>K@9N=:==F>GJ;=<LGAEHD=E=FL9

    F==<D==P;@9F?=HJG?J9E 

                 (9FQG>L@=+D9AFLA>>K@9N=:==F>GJ;=<LGKH=F<9KM:KL9FLA9D9EGMFLG>EGF=Q9F<

    J=KGMJ;=KGFL@=AJ<=L=FLAGF;=FL=JK:=;9MK=G>L@=JAKAF?GHAGA<=HA<=EA; /@=AF;J=9KAF?;GKLK9F<

    J=KGMJ;=KLGL@=L9PH9Q=JAKKM:KL9FLA9D (GKLG>L@=AFE9L=K@9N=KM:KL9F;=9:MK=AKKM=KO@=FL@=Q

    =FL=JL@=<=L=FLAGF;=FL=J +D9AFLA>>KKH=F<KM:KL9FLA9D>MF<K9FFM9DDQLGJMFL@=AJB9ADK AF;DM<AF?

    >MF<KLGHJGNA<=E=<A;9DK=JNA;=KLGHJAKGF=JK $>9FAFE9L=AKJ=IMAJ=<LG?GLG9DG;9D@GKHAL9D<M=

    LGGN=J<GK=GJ9KM:KL9F;=9:MK=AKKM=K L@=B9ADEMKLK=F<9;GMFLQ >MF<=<?M9J<LG:=HJ=K=FLOAL@

                                                    

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 14 of 54 PageID #: 14




    L@=HJAKGF=J @GMJK 9<9Q +J=?F9FLAFE9L=KKM>>=JAF?GHAGA<9<<A;LAGFEMKL:=LJ=9L=<:QL@=B9AD

    9F<:9:A=K:GJFLGHJAKGF=JK:=;GE=9;GKLDQ=PH=FK=LGL@=;GMFLQ /@=B9AD@9K@9<LGAF;J=9K=

    H=JKGFF=DLG9<<J=KKL@=;JAKAK9F<F==<KEGJ=H=GHD=9F<J=KGMJ;=K /@=B9AD@9K9DKG@9<LGAF;J=9K=

    K=;MJALQE=9KMJ=KLG;GE:9L9?JGOAF?AKKM=G>>9EADQ9F<>JA=F<K9LL=EHLAF?LGKF=9CGHAGA<KLG

    9<<A;L=<HJAKGF=JK 

                 +D9AFLA>>K@9N=AF;J=9K=<=PH=F<ALMJ=KGFBMN=FAD=K=JNA;=K9F<BMN=FAD=;GMJLE9LL=JK

    <M=LGL@=JAKAF?GHAGA<=HA<=EA; 

                 +D9AFLA>>K@9N=KM>>=J=<:Q:=AF?J=IMAJ=<LGKH=F<AF;J=9KAF?9EGMFLKG>EGF=Q9F<

    J=KGMJ;=KLG;GE:9LL@=AF;J=9KAF?GHAGA<=HA<=EA;GN=JL@=H9KL<=;9<= 

                 +D9AFLA>>K9DKG:=9JGHAGA< J=D9L=<;GKLK9KKG;A9L=<OAL@OGJC=JK\;GEH=FK9LAGF 9F<

    L@=AJOGJC=JK\@=9DL@9F<<AK9:ADALQ=PH=FK=K9F<AFKMJ9F;= AF;DM<AF?AF;J=9K=<MK=G>HJ=K;JAHLAGF

    GHAGA<K 9F<L@=LJ=9LE=FLKJ=IMAJ=<>GJGHAGA<9<<A;LAGFK AF;DM<AF?LJ=9LE=FL>GJGN=J<GK=K9F<

    D=9N=KG>9:K=F;= 

                  K 9 >MJL@=J J=KMDL  +D9AFLA>>K 9DKG @9N= HJGNA<=<  9F< OADD ;GFLAFM= LG HJGNA<= 

    E=<A;9D;GN=J9?= OGJC=JK\;GEH=FK9LAGF 9F<<AK9:ADALQ;GN=J9?=LG9F<L@JGM?@L@=AJ=EHDGQ==K

    GJ9J=K=D> AFKMJ=<9F<@9N=H9A< 9F<OADD;GFLAFM=LGH9Q KGE=GJ9DDG>L@GK=:=F=>ALKL@=EK=DN=K

    9F< O@=FAFKMJ=< @9N=@9<LGH9Q 9F<OADD;GFLAFM=LG@9N=LGH9Q AF;J=9K=<AFKMJ9F;=HJ=EAMEK

                 +D9AFLA>>K @9N= =PH=F<=< L@=AJ L9PH9Q=JK\ J=KGMJ;=K LG <=9D OAL@ =9;@ G> L@=

    9>GJ=E=FLAGF=<KALM9LAGFK;9MK=<:QL@=GHAGA<=HA<=EA; 9KO=DD9KE9FQGL@=JK 

                  &,05(: +(&+(/(5+(/2.(/(06$6,10+(/2$&6

                 /@=.9;CD=JK@9N=GOF=<9F<;GFLJGDD=<+MJ<M=9F<ALKHJ=<=;=KKGJKKAF;= L

    9DDLAE=KJ=D=N9FLLGL@AKGEHD9AFL AF<ANA<M9D.9;CD=JKG;;MHA=<=AL@=JKAPGJK=N=FG>L@=K=9LKGF

    +MJ<M=\K:G9J<G><AJ=;LGJK 9F<9L9DDLAE=K@=D<9E9BGJALQG>:G9J<K=9LK /G9<NAK=L@=:G9J<G>

    <AJ=;LGJKG>+MJ<M=O9KLG9<NAK=L@=.9;CD=JK /@=AFL=J=KLKG>L@=.9;CD=JK9F<L@=+MJ<M=:G9J<

                                                     

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         Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 15 of 54 PageID #: 15




    G><AJ=;LGJK 9F<+MJ<M=ALK=D> 9K9HJAN9L=DQ@=D<;GEH9FQ @9N=:==F9F<J=E9AF9DD9DA?F=< :=AF?

    HJ9;LA;9DDQAF<AKLAF?MAK@9:D= (;&AFK=Q9DA?F=<ALK=D>OAL@L@=E>GJGN=J9<=;9<= 

               $F+MJ<M=\K   ?MADLQHD=9LGL@=EAK:J9F<AF?G>*PQGFLAFAFNAGD9LAGFG>L@=!=<=J9D

    !GG<  JM? 9F< GKE=LA; ;L   0 .   TT    &5 4&2 +MJ<M= 9<EALL=< L@9L YKMH=JNAKGJK 9F<

    =EHDGQ==K OAL@L@=AFL=FLLG<=>J9M<GJEAKD=9< E9JC=L=<9F<HJGEGL=<*PQGFLAF9KD=KK9<<A;LAN= 

    D=KKKM:B=;LLG9:MK=9F<<AN=JKAGF 9F<D=KKDAC=DQLG;9MK=LGD=J9F;=9F<OAL@<J9O9DL@9FGL@=JH9AF

    E=<A;9LAGFK Z

                  +MJKM9FL LG L@= GJHGJ9L= $FL=?JALQ ?J==E=FL L@9L 9;;GEH9FA=< L@= ?MADLQ HD=9 

    +MJ<M=O9KG:DA?9L=<LGAEHD=E=FLOJALL=FHGDA;A=KJ=?9J<AF?ALK;GEHDA9F;=HJG?J9EAF;DM<AF?

                     • YK=DDAF? E9JC=LAF? HJGEGLAF? 9<N=JLAKAF? 9F<<AKK=EAF9LAF?(9L=JA9DKGJ
                        AF>GJE9LAGF9:GML+MJ<M=\KHJG<M;LKAF;GEHDA9F;=OAL@9DD9HHDA;9:D=!
                        J=IMAJ=E=FLK AF;DM<AF?J=IMAJ=E=FLKJ=D9LAF?LGL@=<AKK=EAF9LAGFG>AF>GJE9LAGF
                        L@9LAK>9AJ9F<9;;MJ9L=VAF;DM<AF? :MLFGLDAEAL=<LGAF>GJE9LAGF;GF;=JFAF?
                        L@=OAL@<J9O9D <JM?LGD=J9F;= <JM?9<<A;LAGFGJ<JM?9:MK=G>+MJ<M=\KHJG<M;LK
                
                     • ;GEH=FK9LAGFAF;DM<AF?K9D9JA=K9F<:GFMK=K>GJ-=D=N9FLGN=J=<+=JKGFK
                        =F?9?=<AFHJGEGLAF?9F<K=DDAF?+MJ<M=\KHJG<M;LKL@9L9J=<=KA?F=<LG=FKMJ=
                        L@9L>AF9F;A9DAF;=FLAN=K<GFGLAF9HHJGHJA9L=DQEGLAN9L=KM;@AF<ANA<M9DKLG
                        =F?9?=AFL@=AEHJGH=JHJGEGLAGFGJK9D=KG>+MJ<M=\KHJG<M;LK

                     • L@=HJG;=KK:QO@A;@9F<KL9F<9J<K9;;GJ<AF?LGO@A;@+MJ<M=K9D=K
                        J=HJ=K=FL9LAN=KHJGNA<=(9L=JA9DKGJJ=KHGF<LGJ=IM=KLK>JGE#+\K5@=9DL@;9J=
                        HJGNA<=JK6>GJAF>GJE9LAGF9:GML+MJ<M=\KHJG<M;LK AF;DM<AF?AF>GJE9LAGF
                        ;GF;=JFAF?OAL@<J9O9D <JM?LGD=J9F;= <JM?9<<A;LAGF GJ<JM?9:MK=G>+MJ<M=\K
                        HJG<M;LK ZAF;DM<AF?YL@=>GJE9F<;GFL=FLG>(9L=JA9DK<AKK=EAF9L=<:QK9D=K
                        J=HJ=K=FL9LAN=K Z9F<YL@=AFL=JF9DJ=NA=OHJG;=KK>GJL@=(9L=JA9DK9F<
                        AF>GJE9LAGF<AKK=EAF9L=<:QK9D=KJ=HJ=K=FL9LAN=K Z

                  +MJ<M=O9KG:DA?9L=<LG=F?9?=9F$F<=H=F<=FL-=NA=O*J?9FAR9LAGFLG=FKMJ=ALK

    ;GEHDA9F;=OAL@L@=KLJA;LMJ=KG>L@=GJHGJ9L=$FL=?JALQ?J==E=FL 9F<LG>AD=;GEHDA9F;=J=HGJLK

    GF9F9FFM9D:9KAKOAL@L@=AFKH=;LGJ?=F=J9D 


                                  
    
   J9A?'9F<9M KGGFLG:=;GE= *G>+MJ<M= 9;CFGOD=<?=<AF(9Q L@9L+MJ<M=GH=J9L=<
OAL@YL@=G9J<G>AJ=;LGJKK=JNAF?9KL@=[<=>9;LG\ * Z/@=>MLMJ= *MF<=JKLGG<@=OGMD<
@9N=DALLD=HJ9;LA;9DHGO=J<=KHAL=@AKF=OLALD= /@=GOF=JKJ9FL@=:MKAF=KK 
                                                  

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         Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 16 of 54 PageID #: 16




                   $F L@= Q=9JK 9>L=J L@=     ?MADLQ HD=9  +MJ<M= OGMD< J=L9AF GFDQ L@= 9:KGDML=

    EAFAEME9EGMFLG>EGF=QOAL@AF+MJ<M=                EADDAGF *L@=JOAK= 9DDL@=EGF=QO9K<AKLJA:ML=<

    LGL@=GOF=JK 

                   GF;MJJ=FLDQ L@=.9;CD=JK:9;C=<9O9Q>JGE<9Q LG <9QBG:K9L+MJ<M= MJAF?L@=

    GF?GAF?AFN=KLA?9LAGFL@9LJ=KMDL=<AFL@=         ?MADLQHD=9 YK=N=J9D>9EADQE=E:=JKO@GOGJC=<

    9L+MJ<M=KL=HH=<:9;C>JGEL@=AJGH=J9LAGF9DJGD=K Z$F             -A;@9J<.9;CD=JJ=KA?F=<9KL@=

    HJ=KA<=FLLG9KKME=@AKJGD=G>;G ;@9AJE9F J &9L@=.9;CD=J9F<%GF9L@9F.9;CD=J=PAL=<L@=AJ

    JGD=K9KK=FAGJNA;=HJ=KA<=FLK 9K<A<NA;=HJ=KA<=FL (GJLAE=J  .9;CD=J MLL@=QJ=E9AF=<GF

    L@=:G9J< 

                   /@=.9;CD=JK>9;=<9HJG:D=EL@=F==<LG?JGO*PQGFLAFK9D=K9K<J9E9LA;9DDQ9K

    HGKKA:D= LG E9C= +MJ<M= 9F 9LLJ9;LAN= 9;IMAKALAGF L9J?=L GJ :GJJGO=J  O@AD= 9L L@= K9E= LAE=

    9HH=9JAF?LG;GEHDQOAL@L@=GJHGJ9L=$FL=?JALQ?J==E=FL 

                   +MJ<M=AFKL9DD=<(;&AFK=QLG<=NAK=9F<AEHD=E=FL9F*PQGFLAFKLJ9L=?QAFDAF=

    OAL@L@=.9;CD=JK\?G9DK /@AKD9OKMAL9<<J=KK=K(;&AFK=Q\KOGJCAF;GF;=JLOAL@+MJ<M=9F<L@=

    .9;CD=JK :=?AFFAF?9LD=9KL9K=9JDQ9K          9F< AFH9JLA;MD9J >GJFGO AFL@=Q=9JK9>L=JL@=

          ?MADLQHD=9J=D9LAF?LG+MJ<M=\KE9JC=LAF? HJGEGLAGF <AKLJA:MLAGF 9F<K9D=KKLJ9L=?A=K>GJALK

    GHAGA<K 



                                    
    
         &&%9J=<. #GHCAFK  563%6&)"3."64*/&44-6.14"41*0*%"846*5406/5 29DD.LJ==L
%GMJF9D %MF=   "7"*-"#-&"5 @LLHK OOO OKB ;GE 9JLA;D=K HMJ<M= H@9JE9 ?J9HHD=K OAL@
AFL=JF9D ;@9DD=F?=K 9K GHAGA< D9OKMALK EGMFL  EG<@H7D=9<7HGK
  
      9JJQ(=A=J "*/*--&3 +? -9F<GE#GMK=  
  
     KGF=+MJ<M==P=;MLAN=KL9L=<G>+MJ<M=\K9LLALM<=LGO9J<L@=GJHGJ9L=$FL=?JALQ?J==E=FL
Y/@=Q<A<FGLDAKL=FLGL@=AJ;JALA;K9F<AFKAKL=<L@=Q@9<BMKL9>=OAKGD9L=<HJG:D=EK >L=JL@=
K=LLD=E=FL L@=Q<A<F\L;@9F?=WL@=O9QL@=K9D=K>GJ;=O9KE9F9?=<9F<AF;=FLANAR=< =N=JQL@AF?
KL9Q=<L@=K9E= Z0863%6&<4;0/&580<16/$)'6&--&%5)&."3,&5'03GHAGA<K !AF9F;A9D/AE=K .=HL 
   "7"*-"#-&"5 @LLHK OOO >L ;GE ;GFL=FL ==;; : = < > < ;
#).3%9).4%2.!,$/#5-%.43!2%4/"%-!$%05",)#5.$%22%#%.4#/.3%.4*5$'-%.43
(4403 /!'$#'/6 3)4%3 $%&!5,4 &),%3     #).3%9 /.3%.4 5$'-%.4 %.4%2%$ 0$&
                                                        

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      Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 17 of 54 PageID #: 17




            "AN=F L@= L=FKAGF :=LO==F ;GEHDA9F;= OAL@ L@= GJHGJ9L= $FL=?JALQ ?J==E=FL 9F< L@=

  <=KAJ=LGK=DDEGJ=*PQGFLAF +MJ<M=F==<=<@=DH 9F<+MJ<M=9?J==<LGH9QEGF=QLG(;&AFK=QAF

  =P;@9F?=>GJ(;&AFK=Q\KL=DDAF?L@=;GEH9FQ@GOLGK=DD9KEM;@*PQGFLAF9K;GF;=AN9:DQHGKKA:D=

  KGL@=.9;CD=JK;GMD<G:L9AF;9K@LG<AN=JKA>QL@=AJAFN=KLE=FL@GD<AF?K9O9Q>JGE+MJ<M= 2AL@AF

  O==CK (;&AFK=QO9KAFKA<=+MJ<M=OGJCAF?LG<=NAK=9F<AEHD=E=FLF=OE9JC=LAF?9F<HJGEGLAGF

  KLJ9L=?A=K>GJ*PQGFLAF 

            Q%MF=    (;&AFK=Q +MJ<M=9F<L@=.9;CD=JKO=J=OGJCAF?AF;GF;=JLLGAF;J=9K=

  K9D=KG>+MJ<M=\KGHAGA<K (;&AFK=QHJGEGL=<9KH=;A>A;E9JC=LAF?9F<K9D=KKLJ9L=?Q+MJ<M=9<GHL=<

  AL  9F<  LG?=L@=J  L@=Q AEHD=E=FL=< AL  =KHAL= L@= KLJA;LMJ=K AEHGK=< :Q L@= GJHGJ9L= $FL=?JALQ

  ?J==E=FL *PQGFLAFK9D=KEMDLAHDA=< 

               /@=GJHGJ9L=$FL=?JALQ?J==E=FL\KJ=KLJA;LAGFKGF+MJ<M=\KE9JC=LAF?9F<K9D=K

  E=L@G<K K@GMD< @9N= J=KMDL=< AF D=KK *PQGFLAF K9D=K L@= ?MADLQ HD=9 A<=FLA>A=< ADD=?ALAE9L=

  *PQGFLAFK9D=KL@9LK@GMD<;=9K= $F>9;L *PQGFLAFK9D=K<A<<=;J=9K=AFL@=AEE=<A9L=9>L=JE9L@

  G>L@=   ?MADLQHD=9 #GO=N=J OAL@AF>AN=Q=9JK *PQGFLAFK9D=K@9<LJ=:D=< 9F<9DD9DGF?AL

  O9K(;&AFK=QL@9L<=NAK=< 9F<9A<=<9F<9:=LL=<+MJ<M=AFAEHD=E=FLAF? L@=BGAFLKLJ9L=?QLG

  9;;GEHDAK@L@=>AF9F;A9D?G9DKG>+MJ<M=9F<L@=.9;CD=JK 

            +MJ<M=KH=FL@MF<J=<KG>EADDAGFKG><GDD9JKAEHD=E=FLAF?L@=KLJ9L=?Q OAL@9>AF9DKMJ?=

  G>*PQGFLAFK9D=K:=>GJ=L@=AF=NAL9:D=<=;DAF=G>L@=<JM?  

            $FL@==F< <=KHAL=L@=K;@=E=LG:GGKLK9D=K9F<HJG>ALKKGL@=.9;CD=JK;GMD<9NGA<L@=

  JAKCG>+MJ<M=GOF=JK@AH L@=.9;CD=JKF=N=JKGD<+MJ<M= 9F<FGGF=DG9F=<ALEGF=Q MLL@=K;@=E=

  <A<LMJ:G;@9J?=K9D=K9F<KO=DDHJG>ALK $FLAE= L@=>MDDK;GH=G>L@=GHAGA<;JAKAK9F<ALK;9MK=K:=?9F




                               
  *F!=:JM9JQ   +MJ<M=9FFGMF;=<OAL@<J9O9D>JGEE9JC=LAF?GHAGA<K 9F<<AK:9F<=<ALK
 

*PQGFLAFK9D=K>GJ;= 
                                          

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 18 of 54 PageID #: 18




    LG :=;GE= CFGOF  DGF? OAL@ L@= J=KL G> L@= F9LAGF  &=FLM;CQ K;@GGD <AKLJA;LK 9J= >G;MK=< GF ALK

    AEH9;L 

              /@JGM?@GML L@= J=D9LAGFK@AH  (;&AFK=Q JGMLAF=DQ ?GL AF>GJE9LAGF >JGE  9<NAK=< 

    ;GEEMFA;9L=< OAL@  9F< OGJC=< >GJ L@= +MJ<M= :G9J< G> <AJ=;LGJK ;GFLJGDD=< :Q L@= .9;CD=JK  9F<

    OGJC=<AFD=9?M=OAL@ 9F<E9F9?=< L@=+MJ<M=E9JC=LAF?KL9>>9F<K9D=K>GJ;= /@AK>ALKOAL@O@9L

    (;&AFK=QLGMLK9K@GOLGKM;;==<9LAEHD=E=FLAF?9HD9FY4GM;9F\L=N=FL=DDL@=<A>>=J=F;=:=LO==F

    9(;&AFK=QL=9EE=E:=J9F<GF=G>GMJ;DA=FLK:=;9MK=O=\J=OGJCAF?L@9L;G@=KAN=DQLG?=L@=J Z

                  (;&AFK=Q H9JLF=J (9JA9 "GJ<A9F  AF @=J (9J;@              Y 4      $EH9;L

    .MEE9JQZAFL=JF9DJ=HGJL@9<J=;GMFL=<K=JNAF?L@=.9;CD=JK L@= *9F<GL@=JK9L+MJ<M=

             2AL@;DA=FLOGJC=PL=F<AF?L@JGM?@L@= IM9JL=J 9F<K=N=J9D9<<ALAGF9DHJGHGK9DKAF
             HJG?J=KK O=;GFLAFM=LG=PH9F<L@=<=HL@9F<:J=9<L@G>GMJJ=D9LAGFK@AHK9L+MJ<M= 
             2= DGGC >GJO9J< LG <==H=FAF? GMJ J=D9LAGFK@AHK OAL@ L@= .9;CD=J >9EADQ 9F< K=JNAF?
             L@=EGFC=Q:MKAF=KK<=N=DGHE=FLAKKM=K 9F<LG=PH9F<AF?GMJJ=D9LAGFK@AHOAL@5%G@F6
             .L=O9JL9F<GL@=JE=E:=JKG>L@=K=FAGJE9F9?=E=FLL=9E 
             
              (;&AFK=QKL9>>=<9LD=9KLCFGOF;GFKMDL9FLKLG+MJ<M= KL@=?JGOAF?F9LAGF9DGHAGA<

    ;JAKAK ;GFLAFM=< LG OGJK=F AF L@= Q=9JK 9>L=J +MJ<M=\K     ?MADLQ HD=9  (;&AFK=Q =F?AF==J=< 9

    ;GFLAFMGMKAFL=?J9DJGD=AFL@=.9;CD=JK\9F<+MJ<M=\KGHAGA<E9JC=LAF?9F<K9D=KHJ9;LA;=K(;&AFK=Q

    >GJEMD9L=<9F<GN=JK9OL@=E 

              (;&AFK=Q\K AF <=HL@ 9F9DQKAK G> +MJ<M=\K *PQGFLAF :MKAF=KK D=< LG AEHD=E=FLAF?

    KLJ9L=?A=KLGK=DDEGJ=9F<EGJ=GHAGA<K9K=9JDQ9K.=HL=E:=J           (;&AFK=QAF>GJE=<+MJ<M=

    L@9L AL ;GMD< ?=F=J9L= Y            LG            Z AF 9<<ALAGF9D 9FFM9D K9D=K G> *PQGFLAF :Q

    AEHD=E=FLAF? (;&AFK=Q\K KLJ9L=?A=K :9K=< GF L@= GHHGJLMFALA=K ALK 9FFM9D ?JGOL@ 9F9DQKAK @9<

    A<=FLA>A=< 

              #9NAF?9F9DQR=<=9;@+MJ<M=GHAGA<K9D=K;@9FF=D>GJGHHGJLMFALA=K9F<O=9CF=KK=K9F<

    E9<= HJ=K=FL9LAGFK LG L@= .9;CD=JK 9F< +MJ<M=\K :G9J< KM;@ 9K Y$<=FLA>QAF? "J9FMD9J "JGOL@

    *HHGJLMFALA=K>GJ*PQGFLAFZAF  (;&AFK=QCF=OL@9LL@=<9F?=JGMKIM9DALA=KG>GHAGA<K:GJ=9

                                                       

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      Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 19 of 54 PageID #: 19




  <AJ=;LJ=D9LAGFK@AHLGL@=NGDME=G>GHAGA<K:=AF?GJ<=J=< 9ML@GJAR=< 9F<HJ=K;JA:=<9F<CF=OG>

  OA<=KHJ=9< HJ=K;JAHLAGF GHAGA< 9<<A;LAGF 9F< 9:MK=  9F< <AN=JKAGF LG ADD=?9D ;@9FF=DK  AF;DM<AF?

  L@JGM?@>AF9F;A9DAF;=FLAN=K9F<AF>GJE9LAGFK@9JAF?9JJ9F?=E=FLKAL<=KA?F=<9F<AEHD=E=FL=< 

              $F    L@= GJHGJ9L= $FL=?JALQ ?J==E=FL =F<=<  9F< (;&AFK=Q ;GFLAFM=< ALK

  9JJ9F?=E=FL OAL@ +MJ<M= 9F< L@= .9;CD=JK  $F    (;&AFK=Q HJGHGK=< 30+&$5 63#0$)"3(&  9

  E9JC=LAF? KLJ9L=?Q LG AF;J=9K= GHAGA< K9D=K :Q @MF<J=<K G> EADDAGFK G> <GDD9JK 9FFM9DDQ 9F< MJ?=<

  +MJ<M=9F<L@=.9;CD=JKLGYE9C=9;D=9J?G FG?G<=;AKAGFLG[/MJ:G;@9J?=L@=.9D=K F?AF=\Z:Q

  <=NGLAF?KM:KL9FLA9D;9HAL9DLGO9J<(;&AFK=Q\KHD9F /G?=L@=J L@=QAEHD=E=FL=<AL F< KAF;=L@=

  HGL=FLA9DJ9EA>A;9LAGFKG>L@=F9E=Y+JGB=;L/MJ:G;@9J?=Z>GJK=DDAF?9<<A;LAN=GHAGA<KO=J=9DDLGG

  9HH9J=FL L@=Q=MH@=EAR=<ALAFLGY NGDN=LG P;=DD=F;= Y  Z  E9<=ALL@=K9D=KL@=E=>GJ  

  9F<LJ9AF=<L@=K9D=K>GJ;=GF@GOLGMK=ALLGK=DD*PQGFLAF 

             *F M?MKL      (;&AFK=Q H9JLF=JK @9< AFALA9DDQ E=L OAL@ L@= .9;CD=JK W FGL L@=

  +MJ<M=:G9J<WLGHAL;@Y30+&$563#0$)"3(& ZJ JF9:"@9L9C GF=G>L@=(;&AFK=QH9JLF=JK 

  J=;GMFL=<L@=E==LAF?LG(9JLAF DDAF?>=DDGOH9JLF=J9F<9;G D=9<=JG>L@=+MJ<M=9;;GMFL AF9F

  =E9AD=P;@9F?=Y5/6@=JGGEO9K>ADD=<GFDQOAL@>9EADQ AF;DM<AF?L@==D<=JKL9L=KE9FJ -9QEGF<

  5.9;CD=J6V2=O=FLL@JGM?@=P@A:AL:Q=P@A:AL>GJ9:GML@JK V/@=QO=J==PLJ=E=DQKMHHGJLAN=

  G> L@= >AF<AF?K 9F< GMJ J=;GEE=F<9LAGFK V 9F< O9FL=< LG KLJGF?DQ =F<GJK= ?=LLAF? ?GAF? GF GMJ

  J=;GEE=F<9LAGFK Z (9JLAF DDAF? J=E9JC=< AF L@= K9E= =E9AD ;GJJ=KHGF<=F;= L@9L (;&AFK=Q\K

  Y>AF<AF?KO=J=;JQKL9D;D=9JLGZL@=.9;CD=JK 9F<L@9LL@=.9;CD=JKY?9N=9JAF?AF?=F<GJK=E=FLG>

  [EGNAF?>GJO9J<>9KL \Z




                                
 
   -=?9J<AF?L@=F9E=;@9F?=  *%G@F.L=O9JLOJGL=LG(;&AFK=QH9JLF=JK-G:-GKA=DDG9F<
JF9:"@9L9CGFM?MKL  Y+9GDGGKL9O9K=KH=;A9DDQ=F?9?=<AFL@=<AK;MKKAGF9F<@=
9EGF?GL@=JKOADD:=9;@9EHAGF>GJGMJEGNAF?>GJO9J<OAL@9;GEHJ=@=FKAN=[LMJ:G;@9J?=\
HJG;=KKWL@GM?@O=<GF==<LG>AF<9:=LL=J9F<EGJ=H=JE9F=FLDQ9HHJGHJA9L=F9E= Z
                                               

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 20 of 54 PageID #: 20




                 *%G@F.L=O9JLLGD<L@=K9D=K>GJ;=L@9L:G9J<E=E:=J+9GDGGKL9O9K9Y;@9EHAGF

    >GJGMJEGNAF?>GJO9J<OAL@9;GEHJ=@=FKAN=[LMJ:G;@9J?=\HJG;=KK Z

                (;&AFK=QOGJC=<L@=E9JC=LAF?KL9>>9F<K9D=K>GJ;=LGAEHD=E=FL30+&$563#0$)"3(& 

    9F<L@==FLAJ=HJGB=;LO9KGN=JK==F:Q(;&AFK=Q9F<+MJ<M==P=;MLAN=K O@GLG?=L@=J;GEHJAK=<L@=

        P=;MLAN=*N=JKA?@L/=9E9F<+JGB=;L(9F9?=E=FL*>>A;= 

                /@=.9;CD=JKKL9Q=<AF>GJE=<GFAEHD=E=FL9LAGFG>(;&AFK=Q\K63#0$)"3(&*PQGFLAF

    KLJ9L=?Q9.=HL=E:=J  :G9J<E==LAF?9?=F<9DAKL=<(;&AFK=Q\KJ=HGJLGFALLGL@=.9;CD=JK 

                 30+&$5 63#0$)"3(& ;9DD=< >GJ <GM:DAF? +MJ<M=\K GHAGA< E9JC=LAF? 9F< K9D=K

    :M<?=L =N=FL@GM?@ MF<=J(;&AFK=Q\K?MA<9F;= +MJ<M=\KE9JC=LAF?9F<3!,%330%.$).'(!$!,2%!$9

    3+92/#+%4%$3&/2#).3%9=3).&,5%.#%!&4%24(%   '5),490,%!




                                                                                                            
                63#0$)"3(&;GFLAFM=<OAL@L@=9JJAN9DG>9F=O * *F%9FM9JQ   F=O *

    (9JC/AEF=QJ=;=AN=<J=HGJLK>JGE(;&AFK=QMJ?AF?+MJ<M=LG>MJL@=JAF;J=9K=K9D=KNAKALKLGY@A?@

    N9DM=ZL9J?=LKA = L@=EGKLHJGDA>A;*PQ;GFLAFHJ=K;JA:=JK LGE9PAEAR=HJG>ALK  

                                  
    
        $F>9;L J=;=FL<=HGKALAGFL=KLAEGFQJ9AK=KL@=IM=KLAGFG>O@=L@=J(;&AFK=Q@9<9@9F<AF
                                                      

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      Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 21 of 54 PageID #: 21




             (;&AFK=Q9DKGMJ?=<L@9LK9D=KJ=HJ=K=FL9LAN=K<=NGL=LOG L@AJ<KG>L@=AJLAE=LGK=DDAF?

  *PQGFLAF9F<GF= L@AJ<G>L@=AJLAE=K=DDAF?9FGL@=J+MJ<M=HJG<M;L +J=NAGMKDQ L@=KHDAL@9<:==F

  >A>LQ >A>LQ 

             'GF? 9>L=J (;&AFK=Q\K ;J=9LAGF 9F< AEHD=E=FL9LAGF G> 63#0$)"3(&  (;&AFK=Q

  J=E9AF=<AFKA<=+MJ<M=LGE9PAEAR=*PQGFLAFK9D=K:QGN=JK==AF?L@=;GFLAFMAF?=P=;MLAGFG>ALK

  KLJ9L=?A=K9F<E9C=EG<A>A;9LAGFK9KF==<=< L@=9FLAL@=KAKG>9GF= G>>;GFLJ9;LAFO@A;@(;&AFK=Q

  EA?@L@9F<D=GF=<AK;J==LHJGB=;L>GJ9;DA=FL9F<>AFAK@ALK:MKAF=KK (;&AFK=QKL9Q=<9LALOAL@+MJ<M=

  L@JGM?@9LD=9KL  

              !JGEL@=GMLK=LG>(;&AFK=Q\KCFGOFGHAGA<K=JNA;=LG+MJ<M= L@=HMJHGK=O9K

  E9;9:J=@GO:=KLLGY;GMFL=J=EGLAGF9DE=KK9?=K>JGEEGL@=JKOAL@L==F9?=JKL@9LGN=J<GK=<AF

  5KA;6*PQGFLAF Z(;&AFK=Q9<NAK=<E9JC=LAF?*PQGFLAF:9K=<GFL@=>9DK=FGLAGFKG>Y>J==<GEZ

  9F< YH=9;= G> EAF< Z EAKD=9<AF? ;GF;=HLK ;GGC=< MH LG 9NGA< <AJ=;L J=HJ=K=FL9LAGFK 9:GML YL@=

  OAL@<J9O9D  <JM? LGD=J9F;=  <JM? 9<<A;LAGF GJ <JM? 9:MK= G> +MJ<M=\K HJG<M;LK Z 9K KH=;A>A=< AF

  .=;LAGF$$$   ;G>L@=GJHGJ9L=$FL=?JALQ?J==E=FL 




                                
/AEF=Q\K:=;GEAF? *9L+MJ<M= *F*;LG:=J   /AEF=QHJGNA<=<L@=>GDDGOAF?L=KLAEGFQ
=EH@9KAK9<<=<
  ,J=QGM>9EADA9JOAL@(;&AFK=QGEH9FQ
        $<=;DAF=LG9FKO=JGFL@=?JGMF<L@9L$E9QFGL:=;GEH=DD=<LG:=9OALF=KK
     9?9AFKLEQK=D>AF9FQHJG;==<AF? 
  ,      A<AF<ANA<M9DK9L(;&AFK=Q9KKAKLQGMAF?=LLAF?@AJ=<9KL@= *G>+MJ<M=
        $<=;DAF=LG9FKO=JGFL@=?JGMF<L@9L$E9QFGL:=;GEH=DD=<LG:=9OALF=KK
     9?9AFKLEQK=D>AF9FQHJG;==<AF? 
                                                

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         Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 22 of 54 PageID #: 22




                 +MJ<M=E9JC=LAF?E9L=JA9DKK@GOL@=9HHJG9;@




    

                (;&AFK=Q9DKGHJGEGL=<>GE=FLAF?YH9LA=FLHMK@:9;CZ LG?=LH9LA=FLKLG<AJ=;LDQDG::Q

    J=DM;L9FL<G;LGJK>GJ*PQGFLAF 

                (;&AFK=Q9F9DQR=<L@=GHAGA<HJ=K;JA:AF?H9LL=JFKG>AF<ANA<M9DH@QKA;A9FKLGA<=FLA>Q

    L@= @AKLGJA;9DDQ @A?@=KL HJ=K;JA:=JK  (;&AFK=Q L@=F OGJC=< OAL@ L@= K9D=K >GJ;= GF YH@QKA;A9F

    K=?E=FL9LAGFZ LG E9JC=L :DALR L@9L <G;LGJ K=?E=FL  (;&AFK=Q A<=FLA>A=<  9K GHLAE9D L9J?=LK >GJ 9

    E9KKAN=HMK@LGK=DDEGJ=*PQGFLAF H@QKA;A9FKO@G@9<9DJ=9<Q:==FAF>DM=F;=<:Q+MJ<M=\KHJ=

    ?MADLQHD=9EAKJ=HJ=K=FL9LAGFK9F<O=J=L@MKHJAE=<LG:=@A?@HJ=K;JA:=JK 

                (;&AFK=Q;GFLAFM9DDQJ=>AF=<L@AK9HHJG9;@9F<KA>L=<EGJ=<9L9W<GOFLGL@=EADDA?J9E 

    >L=JH@QKA;A9FK=?E=FL9LAGF:=?9F (;&AFK=QO9FL=<9F<?GL+MJ<M=\KYHJ=K;JA:=J D=N=DEADDA?J9E

    <GKAF?<9L9 Z$FDAF=OAL@L@9L LG9<<J=KK;GF;=JFK9:GML9<=;DAF=AFY@A?@=JKLJ=F?L@KZHJ=K;JA:=<

    9F<9<=;DAF=AFYL9:D=LKH=J-P Z(;&AFK=QMF<=JLGGCYLG9;LAN=DQEGFALGJL@=FME:=J9F<KAR=G>

    GHAGA<HJ=K;JAHLAGFKOJALL=F:QAF<ANA<M9D<G;LGJK Z

                                  
    
         5"5&0'&//&44&&763%6&)"3." 9K=)G   GEHD9AFL(9Q  U 
                                                    

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 23 of 54 PageID #: 23




              (;&AFK=Q;GF;DM<=<L@9LAF;J=9K=<FME:=JKG>NAKALK:QK9D=KJ=HJ=K=FL9LAN=KLGHJGDA>A;

    HJ=K;JA:=JK OGMD< AF;J=9K= L@= FME:=J G> GHAGA< HJ=K;JAHLAGFK 9F< MJ?=< KLJA;L E9F9?=E=FL G> L@=

    L9J?=LDAKLKG>=9;@E=E:=JG>L@=K9D=K>GJ;=KGE9PAEMEK9D=KLAE=O9K>G;MK=<GFL@=EGKL9LLJ9;LAN=

    L9J?=LK 

              2@=FAL@9<MFN=AD=<63#0$)"3(&LG+MJ<M=9F<L@=.9;CD=JK (;&AFK=QKL9L=<L@9LL@=

    EGKLHJGDA>A;*PQGFLAFHJ=K;JA:=JKOJGL=YLAE=K9KE9FQ*PQGFLAFK;JAHLKZL@9FD=KKHJGDA>A;

    HJ=K;JA:=JK 

               N=F L@GM?@ @A?@=J <GK9?=K  H9JLA;MD9JDQ >GJ DGF?=J H=JAG<K  ;GFLJA:ML=< LG GHAGA<

    <=H=F<=F;Q  9<<A;LAGF  9F< 9:MK=  (;&AFK=Q CF=O L@9L @A?@=J <GK9?=K G> *PQGFLAF HJ=K;JAHLAGF

    HJG<M;=<?J=9L=JHJG>AL9:ADALQ KG(;&AFK=Q9<NAK=<+MJ<M=LG>G;MKGFK=DDAF?@A?@=J<GK9?=K 

              /@= .9;CD=JK O=J= AF>GJE=< GF %MDQ      L@9L +MJ<M= @9< A<=FLA>A=< O=9CF=KK AF

    HJ=K;JA:AF?J9L=K9EGF?L@=@A?@=J<GK=KG>*PQGFLAF9F<O=J=J=9KKMJ=<L@9LY(;&AFK=QOGMD<

    9F9DQR=L@=<9L9<GOFLGL@=D=N=DG>AF<ANA<M9DH@QKA;A9FKZLGKLM<QO9QKLGE9PAEAR=L@=K9D=KG>

    L@= @A?@=KL <GK= *PQGFLAF HADDK  (;&AFK=Q\K OGJC GF AF;J=9KAF? AF<ANA<M9D HJ=K;JAHLAGF <GK=

    KLJ=F?L@;GFLAFM=<L@JGM?@GML(;&AFK=Q\KLAE=OAL@+MJ<M= 

              (;&AFK=QMJ?=<L@=MK=G>IMGL9K9F<:GFMKH9QE=FLKLGEGLAN9L=L@=K9D=K>GJ;=LGHMK@

    >GJ9KE9FQ*PQGFLAFHJ=K;JAHLAGFK9KHGKKA:D= FGLOAL@KL9F<AF?L@9LL@AK@9<:==F9<<J=KK=<AFL@=

         GJHGJ9L=$FL=?JALQ?J==E=FL O@A;@J=IMAJ=<+MJ<M=LGAEHD=E=FLOJALL=FHGDA;A=KJ=?9J<AF?

    Y;GEH=FK9LAGFAF;DM<AF?K9D9JA=K9F<:GFMK=K>GJ5K9D=KJ=HJ=K=FL9LAN=K6=F?9?=<AFHJGEGLAF?9F<

    K=DDAF?+MJ<M=\KHJG<M;LKL@9L9J=<=KA?F=<LG=FKMJ=L@9L>AF9F;A9DAF;=FLAN=K<GFGLAF9HHJGHJA9L=DQ

    EGLAN9L=KM;@AF<ANA<M9DKLG=F?9?=AFL@=AEHJGH=JHJGEGLAGFGJK9D=KG>+MJ<M=\KHJG<M;LK Z

              MJAF?L@=HGKL ?MADLQHD=9Q=9JK L@=AEHGJL9F;=G>L@=GJHGJ9L=$FL=?JALQ?J==E=FL

    O9K<=DA:=J9L=DQEAFAEAR=< $F       9JGD+9F9J9BGAF=<L@=+MJ<M=K9D=K>GJ;=>JGEJAN9D)GN9JLAK 

    .@= OGMD< KL9Q OAL@ L@= ;GEH9FQ MFLAD    (K  +9F9J9 KL9L=< L@9L L@=       ?MADLQ HD=9 O9K

                                                     

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      Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 24 of 54 PageID #: 24




  <=DA:=J9L=DQ<GOFHD9Q=<:QL@=;GEH9FQAFHJ=K=FL9LAGFKLGALKK9D=KKL9>>Y/@=QK9A< [O=O=J=KM=< 

  L@=Q9;;MK=<MKG>EAK E9JC=LAF? :MLL@9LO9KF\LJ=9DDQL@=;9K= $FGJ<=JLGK=LLD=AL9F<?=LAL:=@AF<

  MKO=H9A<9>AF= \4GM@9<L@=AEHJ=KKAGFL@=QO=J=HGJLJ9QAF?AL9K9:ALG>9OAL;@@MFL Z+MJ<M=

  9F<ALK=P=;MLAN=K@9<H9A< EADDAGFAF>AF=K 

            2AL@L@=GJHGJ9L=$FL=?JALQ?J==E=FLLJANA9DAR=< (;&AFK=Q 9LD=9KL9K=9JDQ9K*;LG:=J

     @9<9<NAK=<L@=.9;CD=JK9F<L@=+MJ<M=:G9J<L@9L+MJ<M=K@GMD<LJ9AFALKK9D=K>GJ;=LG

  Y=EH@9KAR5=6L@=:JG9<J9F?=G><GK=K ZOAL@L@=AFL=F<=<=>>=;LG>AF;J=9KAF?L@=K9D=KG>L@=@A?@=KL

  9F<EGKLHJG>AL9:D=<GK=K /@=QAEHD=E=FL=<L@=E9JC=LAF?KDG?9FY$F<ANA<M9DAR=L@=GK= Z9F<:Q

   =F;GMJ9?=<K9D=KJ=HJ=K=FL9LAN=KLGYHJ9;LA;=N=J:9DARAF?L@=LALJ9LAGFE=KK9?=ZLGHJ=K;JA:=JK 

            Q  +MJ<M=@9<AEHD=E=FL=<9 Q=9J(;&AFK=QHD9FLG<J9E9LA;9DDQAF;J=9K=L@=

  IMGL9G>J=IMAJ=<9FFM9DK9D=KNAKALK:Q+MJ<M=\KK9D=K>GJ;=LGHJ=K;JA:=JK /@=IMGL9O9K                        

  NAKALKAF          NAKALKAF           AF  9F<        NAKALKAF  

            $F ALK Y$<=FLA>QAF? "J9FMD9J "JGOL@ *HHGJLMFALA=K >GJ *PQGFLAFZ HJ=K=FL9LAGF LG L@=

  +MJ<M=:G9J<AF%MDQ  (;&AFK=QMJ?=<+MJ<M= AF9<<ALAGFLGAF;J=9KAF?L@=>G;MKG>L@=K9D=K

  >GJ;= GF L@= LGH HJ=K;JA:=JK  LG 9DKG AF;J=9K= L@= GN=J9DD IMGL9K >GJ K9D=K NAKALK >GJ AF<ANA<M9D K9D=K

  J=HJ=K=FL9LAN=K>JGE        LG    9FFM9DDQ 

             *FM?MKL   9KH9JLG>L@=AJY$<=FLA>QAF?"J9FMD9J"JGOL@*HHGJLMFALA=K>GJ

  *PQGFLAFZHJ=K=FL9LAGF (;&AFK=QMJ?=<L@=.9;CD=JKLGY=KL9:DAK@9J=N=FM=?JGOL@?G9D&(

   (AF;J=E=FL9DKLJ=L;@?G9D:Q%MDQ 9F<K=LEGFL@DQHJG?J=KKJ=NA=OKOAL@ *9F<

  G9J< Z

             DKG AF  (;&AFK=QA<=FLA>A=<9FGL@=JO9QLG?=LEGJ=K9D=K;9DDKGMLG>ALK

  K9D=K>GJ;=KD9K@GF= L@AJ<G>L@=LJ9AFAF?ALK=PH9F<AF?K9D=K>GJ;=?GL>JGE <9QKH=JQ=9JLG


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 
   0863%6&<4;0/&580<16/$)'6&--&%5)&."3,&5'0301*0*%4 !AF9F;A9D/AE=K .=HL    
"7"*-"#-&"5@LLHK OOO >L ;GE ;GFL=FL ==;; : = < > < ;
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         Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 25 of 54 PageID #: 25




     <9QK

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                  (0(4,&5 74%1&+$4,0*6+(2,1,'$4-(6

               /G >MJL@=J ?=L 9JGMF< L@= GJHGJ9L= $FL=?JALQ ?J==E=FL J=KLJA;LAGFK GF K9D=K >GJ;=

    AF;=FLAN= ;GEH=FK9LAGF  (;&AFK=Q ?GL +MJ<M= LG AF;=FLANAR= K=DDAF? ?=F=JA; N=JKAGFK G> =PL=F<=<

    J=D=9K=GPQ;G<GF=AF9<<ALAGFLGK=DDAF?*PQGFLAF 

               (;&AFK=Q\K@9NAF?L@=+MJ<M=K9D=K>GJ;=9DKGHMK@?=F=JA;K 9F<?=LAF;=FLAN=K>GJAL >AL

    L@=>9;LL@9LL@=.9;CD=JK?GLAFLGL@=?=F=JA;GHAGA<:MKAF=KKKGGF9>L=JL@=     ?MADLQHD=9:QK=LLAF?

    MH 9 ?=F=JA; GHAGA< E9C=J  -@G<=K +@9JE9;=MLA;9DK   ;;GJ<AF? LG 9 >GJE=J K=FAGJ E9F9?=J 9L

    +MJ<M= Y-@G<=KO9KK=LMH9K9[D9F<AF?H9<\>GJL@=.9;CD=JK LGHJ=H9J=>GJL@=HGKKA:ADALQL@9LL@=Q

    OGMD<F==<LGKL9JL9>J=K@>GDDGOAF?L@=;JAKAKL@=F=F?MD>AF?*PQGFLAF Z




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    
    *--*0/"*3&"$,-&3'".*-:08/44&$0/%01*0*%.",&3 !AF9F;A9D/AE=K .=HL    "7"*-"#-&"5 
@LLHK OOO >L ;GE ;GFL=FL <;>9 ::; = ;9 ;> 
     
      " !!%$ "%!!  ).!.#)!,)-%3%04       
(4403 777&4#/- #/.4%.4 %%##"  %$ & $  #
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         Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 26 of 54 PageID #: 26




                   /@9LO9QL@=.9;CD=JK;GMD<;GFLAFM=LGHJG>ALG>>GHAGA<KO@AD=9HH=9JAF?LG:9;C9O9Q

    >JGE +MJ<M=  =KHAL= :=AF? J=?AKL=J=< 9K 9 K=H9J9L= ;GEH9FQ >JGE +MJ<M=  KL9>> >JGE -@G<=K 9F<

    +MJ<M=MK=<L@=K9E==EHDGQ==@9F<:GGC9F<YDALLD=<AKLAF;LAGF5O9K6E9<=AFL=JF9DDQ:=LO==FL@=

    LOG;GEH9FA=K Z(;&AFK=QOGJC=<AFD=9?M=OAL@:GL@>GJL@=.9;CD=JK 

                   Q  -@G<=K@=D<9D9J?=JK@9J=G>L@=GHAGA<E9JC=LL@9F+MJ<M= /@JGM?@+MJ<M= 

    L@=.9;CD=JK;GFLJGDD=< G>L@=GN=J9DDGHAGA<E9JC=L 2@=F;GE:AF=<OAL@-@G<=K @GO=N=J L@=

    .9;CD=JKK@9J=G>L@=GN=J9DDGHAGA<E9JC=LO9K9HHJGPAE9L=DQG>9DDGHAGA<KKGD<AFL@=0FAL=<

    .L9L=K 

                   /@= .9;CD=JK\ AFNGDN=E=FL AF -@G<=K 9F< ALK J=D9LAGFK@AH LG +MJ<M= O9K FGL HM:DA;DQ

    CFGOFMFLADL@=.=HL=E:=J   HM:DA;9LAGFG>9F9JLA;D=AFL@=*/"/$*"-*.&4.=N=J9DG>L@=

    .9;CD=J GOF=< -@G<=K =FLALA=K 9J= 9EGF? L@= =:LGJK AF L@= H=F<AF? +MJ<M= HJG;==<AF?K MF<=J

    @9HL=JG>L@=9FCJMHL;QG<= 

                   H9JL >JGE :GGKLAF? -@G<=K\ K9D=K  (;&AFK=Q\K HD9F >GJ <=>=9LAF? L@= GJHGJ9L=

    $FL=?JALQ?J==E=FL\KAF;=FLAN=J=KLJA;LAGFK:=F=>ALL=<L@=.9;CD=JK\?G9DG>HGKALAGFAF?+MJ<M=9K

    9F9LLJ9;LAN=9;IMAKALAGFL9J?=LAF9:JG9<=JO9Q?JGOAF?L@=GN=J9DDE9JC=LO9KBMKL9KAEHGJL9FL

    9KE9JC=LK@9J=Y2@=J=9KH@9JE9K9D=KH=GHD=9J=MKM9DDQ;GEH=FK9L=<:9K=<GFL@=AJ9:ADALQLG

    ?JGOK9D=KG>9H9JLA;MD9JE=<A;AF= H9JLG>L@=:GFMK>GJ+MJ<M=\KKL9>>O9K;9D;MD9L=<AFJ=D9LAGF

    LGL@=KAR=G>L@=GN=J9DDE9JC=L ZGGKLAF??=F=JA;GHAGA<HADDK 9F<H9QAF?AF;=FLAN=KLG<GAL 

    O9KFGLGFDQ9O9QLGKCAJLL@=GJHGJ9L=$FL=?JALQ?J==E=FL:ML9DKGLG=PH9F<9F<=PHDGALL@=

    GN=J9DDE9JC=L>GJGHAGA<K9F<L@=HJG>AL9:ADALQALHJGEAK=< 

                      8(4&1/,0*(5,56$0&(612,1,'5




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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 27 of 54 PageID #: 27




              $F %MDQ    9K H9JL G> HMK@AF? 63#0$)"3(&  (;&AFK=Q AF>GJE=< +MJ<M= 9F< L@=

    .9;CD=JKL@9L*PQGFLAFJ=N=FM=KO=J=<GOF:=;9MK= 9EGF?GL@=JL@AF?K Y=FLAJ=H@9JE9;A=K59J=6

    :=AF? K@ML G>> :Q <AKLJA:MLGJK  H@9JE9;A=K L@=EK=DN=K AEHGKAF? L9:D=L DAEALK  <=;J=9K=K AF ;@9FF=D

    AFN=FLGJQD=9<AF?LG?J=9L=JKLG;CGMLK 9F<H@9JE9;A=K;@GGKAF?LGFGLKLG;C*PQGFLAF Z(;&AFK=Q\K

    HD9F;J=9L=9FY9DL=JF9LAN=EG<=D>GJ@GOH9LA=FLKJ=;=AN=*PQGFLAF /@AKEG<=DOGMD<:QH9KKJ=L9AD 

    DAC=DQL@JGM?@9L@AJ<H9JLQN=F<GJO@GOGMD<HJGNA<=9<BM<A;9LAGF9F<<AJ=;L<AKLJA:MLAGFLGH9LA=FLK Z

              K K=L GML 9:GN=  63#0$)"3(& ?GL L@= ?G 9@=9<  9F< AF;DM<=< L@= Y9DL=JF9LAN= KMHHDQ

    ;@9FF=DKZ<AKLJA:MLAGFL9;LA; 9F<:Q*;LG:=J  +MJ<M=@9<9HHJG9;@=<KAPHGL=FLA9DH9JLF=JK :ML

    9DDKAPJ=B=;L=<+MJ<M=\KG>>=J:=;9MK=L@=QO=J=YFGL;GE>GJL9:D=OAL@E9AD>MD>ADDE=FLZ9F<O=J=

    ;GF;=JF=<OAL@L@=YJAKC9KKG;A9L=<OAL@<AKH=FKAF?*PQGFLAFZMF<=JL@9LEG<=D +MJ<M=MH<9L=<

    L@= .9;CD=JK GF KL9LMK 9L L@= G9J< E==LAF? L@9L EGFL@ Y2@9L AK +MJ<M= GFKA<=JAF? $F;DM<=K

    =PHDGJAF? GHHGJLMFALQ LG <AKLJA:ML= <AJ=;LDQ =PHDGJAF? =PAKLAF? ;@9FF=DK .H=;A9DLQ H@9JE9;A=K 

    AF<=H=F<=FLH@9JE9;QF=LOGJCK Z

              $F (9Q    +MJ<M= :JGM?@L AF 9 N=F<GJ 9K H9JL G> AEHD=E=FLAF? 63#0$)"3(&  /@=

    N=F<GJKL9L=<+MJ<M=;GMD<=PH=;L9Y       >ADDJ9L=Z9F<O9KKLJM;LMJ=<KGL@9LL@=H@9JE9;QO9KH9A<

    9>==>GJ<AKH=FKAF?9HJ=K;JAHLAGF +MJ<M==FL=J=<9?J==E=FLKOAL@L@J==KH=;A9DLQH@9JE9;A=KLG>ADD

    *PQGFLAF HJ=K;JAHLAGFK L@9L GL@=J LJ9<ALAGF9D H@9JE9;A=K @9< J=B=;L=<  /@= AEHD=E=FL9LAGF

    9?J==E=FLKOAL@L@=KH=;A9DLQH@9JE9;A=KH9A<9:GN=>9AJE9JC=LN9DM=:9K=<GHAGA<NGDME= 

              .GE=HJ=K;JAHLAGFK>ADD=<:QL@=YKH=;A9DLQZH@9JE9;A=K@9<:==FJ=B=;L=<:QLJ9<ALAGF9D

    J=L9AD H@9JE9;A=K 9F< <AKHD9Q=< AF<A;A9 L@9L L@= HJ=K;JAHLAGFK O=J= FGL >GJ 9 E=<A;9DDQ 9;;=HL=<

    AF<A;9LAGF >GJ MK=K L@9L O=J= MFK9>=  AF=>>=;LAN=  9F< E=<A;9DDQ MFF=;=KK9JQ 9F< L@9L O=J= G>L=F

    <AN=JL=<>GJMK=KL@9LD9;C=<9D=?ALAE9L=E=<A;9DHMJHGK= 

              /@MK  >JGE EA<   L@JGM?@    L@= KH=;A9DLQ H@9JE9;A=K >ADD=< HJ=K;JAHLAGFK >GJ

    +MJ<M=GHAGA<KOJALL=F:QHJ=K;JA:=JKL@GM?@LLG:==F?9?=<AF9:MK=9F<<AN=JKAGF 9F<>JGE*;LG:=J

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      Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 28 of 54 PageID #: 28




    L@JGM?@    +MJ<M= H9A< L@= KH=;A9DLQ H@9JE9;A=K CA;C:9;CK LG >ADD HJ=K;JAHLAGFK L@9L GL@=J

  LJ9<ALAGF9DH@9JE9;A=K@9<J=B=;L=< 

            DKG 9KH9JLG>L@=AEHD=E=FL9LAGF +MJ<M=\KK9D=KJ=HJ=K=FL9LAN=K9F<ALKE=<A;9D9>>9AJK

  <=H9JLE=FL =EHDGQ==K J=>=JJ=< HJ=K;JA:=JK 9F< H9LA=FLK LG L@= KH=;A9DLQ H@9JE9;A=K O@=F L@=Q @9<

  <A>>A;MDLQ>ADDAF?HJ=K;JAHLAGFK>GJ9FQ+MJ<M=GHAGA<K AF;DM<AF?*PQGFLAF 

            +MJ<M=9F<L@=.9;CD=JK?GLO@9LL@=QO9FL=<OAL@(;&AFK=Q !JGE            LG  +MJ<M=

  <AKLJA:ML=<GN=J:ADDAGFLGL@=.9;CD=JK OAL@EADDAGFAF  9DGF= 

            /@=K=<AKLJA:MLAGFK AFDAF=OAL@L@=.9;CD=JK\9F<+MJ<M=\K?G9D OGMD<FGL@9N=:==F

  HGKKA:D=OAL@GML(;&AFK=Q\KHD9FK9F<AEHD=E=FL9LAGF 

            /@=.9;CD=JKO=J=9O9J=G>L@=N9DM=(;&AFK=QHJGNA<=<>GJ=P9EHD= GF=;=E:=J 

     *%G@F.L=O9JLAF>GJE=<&9L@=.9;CD=J9F<1A;=+J=KA<=FLG>.9D=K9F<(9JC=LAF?-MKK=DD

  "9K<A9 L@9L 63#0$)"3(& YO9K 9DJ=9<Q AF;J=9KAF? HJ=K;JAHLAGFK 9F< J=N=FM= Z /@=K= J=KMDLK O=J=

  ;GEAF?=N=F:=>GJ=L@=KLJ9L=?QO9K<=HDGQ=<9KL@=L@=E=G>L@= )9LAGF9D.9D=K(==LAF? 

            (;&AFK=Q\K AEH9;L GF +MJ<M=\K ?JGOL@ O@AD= F=L K9D=K G> *PQGFLAF LGL9D=<

  9HHJGPAE9L=DQ:ADDAGFAFL@=Q=9JG>L@=+MJ<M=\K>AJKL?MADLQHD=99F<J=KLJA;LAN=GJHGJ9L=$FL=?JALQ

  ?J==E=FL :Q  OAL@(;&AFK=Q *PQGFLAFK9D=K=P;==<=<:ADDAGF LJ=:D=L@=J=N=FM= 

            F< OAL@(;&AFK=Q=FK;GF;=<AF+MJ<M= *PQGFLAFJ=9;@=<9F9DD LAE=@A?@AF  

  O@=F63#0$)"3(&O9KMFN=AD=< AFL=JF9DDQ /@=>9;LL@9LK9D=KH=9C=<AF E=9FLKM;;=KK ?AN=F

  L@9L 0 .  GN=J9DD GHAGA< HJ=K;JAHLAGFK @9< H=9C=< L@J== Q=9JK =9JDA=J  (;&AFK=Q\K +MJ<M= =>>GJLK

  9<<=<9>AF9DHMK@LG*PQGFLAFK9D=K:=>GJ=L@==N=FLM9DMFJ9N=DAF?O@=F+MJ<M=;=9K=<E9JC=LAF?

  L@=<JM?AF  



                                
 
    "=JQ+ "MQ%J "5"-  *5"-*(/4 )"/(&4*/1*0*%3&4$3*#*/("55&3/4*/5)&/*5&%5"5&4
     =FL=JK>GJAK=9K=GFLJGD9F<+J=N=FLAGF %MDQ   "7"*-"#-&"5 
@LLHK OOO ;<; ?GN EEOJ NGDME=K  OJ EE9 @LE
                                                 

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         Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 29 of 54 PageID #: 29




                  $F    9;;GJ<AF? LG +MJ<M=  L@=J= O=J=   EADDAGF *PQGFLAF HJ=K;JAHLAGFK OJALL=F 

    F< AFDAF=OAL@L@=E9JC=LAF?HD9F  O=J=>GJLO=DN= @GMJ<GKAF? 9F<G>L@GK=EGJ=L@9F@9D>

    O=J=>GJ<GK=K?J=9L=JL@9F EADDA?J9EKH=J<9Q 

                  2@AD= AFKL9DD=< 9L +MJ<M=  (;&AFK=Q <=K;JA:=< ALK E=<A;9D AF<MKLJQ ;9H9:ADALA=K

    Y$F<==<  L@=J= AK 9 <G;LGJ AF L@= @GMK=  2= @9N= EGJ= L@9F    ;GFKMDL9FLK OAL@ KA?FA>A;9FL

    @=9DL@;9J= =PH=JA=F;=  AF;DM<AF? EGJ= L@9F   H@QKA;A9FK 9F<   ;GFKMDL9FLK OAL@ 9<N9F;=<

    <=?J==KAF?=F=LA;K AEEMFGDG?Q :AG;@=EA;9D=F?AF==JAF? F=MJG:AGDG?Q 9F<GL@=JDA>=K;A=F;=K 

    2=9DKG@9N=;GFKMDL9FLKOAL@9<N9F;=<<=?J==KAFHM:DA;@=9DL@ @=9DL@;9J=E9F9?=E=FL 9F<

    J=D9L=<>A=D<K Z

                     &,05(: 2,1,'92(465

                  QL@=LAE=ALK=LLD=<AFLGALKJGD=9L+MJ<M= (;&AFK=Q@9<=PL=FKAN==PH=JA=F;=OAL@

    GHAGA<K9F<C=HLMHGFO@9LHJ=K;JA:=JKCF=O9F<<A<FGLCFGO 9F<;GF;=JFKHJ=K;JA:=JKEA?@L@9N=

    @9<  9:GML *PQGFLAF 9:MK=  9<<A;LAGF  9F< <AN=JKAGF  (;&AFK=Q :JA=>=< +MJ<M= GF Y!AF<AF?K GF

    E=KK9?AF? 9F< HGKALAGFAF? Z H9JL G> 9 HJ=K=FL9LAGF LG +MJ<M= =FLALD=< Y*PQGFLAF ?JGOL@

    GHHGJLMFALA=K Z

                  (;&AFK=Q@9<KA?F=< GF9KL@=E9JC=LAF?:J9AFK>GJ9E9FM>9;LMJ=JG>9<<A;LAN=GHAGA<K

    HJG<M;LK O@AD= L@9L E9FM>9;LMJ=J O9K :GMF< :Q 9  Q=9J GJHGJ9L= $FL=?JALQ ?J==E=FL ;GN=JAF?

    OJGF?>MDGHAGA<K9D=K9F<E9JC=LAF?HJ9;LA;=KL@9L=PHAJ=<AF  QL@=F*PQGFLAF9;;GMFL=<>GJ

    G>+MJ<M=\KJ=N=FM=  KD9L=9K  ALJ=E9AF=<G>+MJ<M=\KJ=N=FM=  

                  (;&AFK=QCF=OO@9LALO9KHMK@AF?ALK9?J==E=FLAF;GF;=JLOAL@+MJ<M=O9KLGAF;J=9K=

    GHAGA< K9D=K O@=F +MJ<M= O9K G:DA?9L=< LG J=KLJA;L ALK E9JC=LAF? KLJ9L=?A=K L@9L @9< ;9MK=< L@=

    GN=JHJ=K;JA:AF?G>9<<A;LAN=GHAGA<K9F<L@=AF=NAL9:D=;GFK=IM=F;=K (;&AFK=Q\KBG:O9KLG;GMFL=J


                                      
    
         "=J9D<+GKF=J )"3."H? .AEGF.;@MKL=J   
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         %
                                                         

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      Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 30 of 54 PageID #: 30




  L@= AFL=F<=< J=KMDLK G> L@= GJHGJ9L= $FL=?JALQ ?J==E=FL 9F< LG <=NAK= KLJ9L=?A=K LG K=DD 9K E9FQ

  +MJ<M=GHAGA<HADDK9KHGKKA:D= /@JGM?@(;&AFK=Q +MJ<M=K9D=K?J=O=PHGF=FLA9DDQ MF9:9L=<:QL@=

  GJHGJ9L=$FL=?JALQ?J==E=FL 

            (;&AFK=Q;9FFGL>=A?FA?FGJ9F;=G>L@=<9E9?=<GF=:Q*PQGFLAF L@=9<<A;LAN=<JM?

  ALO9KH9A<LGHJGEGL= .M;@9HD=9OGMD<;GDD9HK=?AN=F(;&AFK=Q\KY?J9FMD9JZMF<=JKL9F<AF?G>

  +MJ<M=\K9F<L@=.9;CD=JK\:MKAF=KK $F%MF=         (;&AFK=QA<=FLA>A=< <=NAK=< 9F<AEHD=E=FL=< 

  L@= E=9FK >GJ Y;GMFL=JAF? L@= =EGLAGF9D E=KK9?=K >JGE EGL@=JK OAL@ L==F9?=JK L@9L GN=J<GK=< GF

  *PQGFLAF Z

            (;&AFK=Q\K9??J=KKAN=9HHJG9;@LGE9JC=LAF?+MJ<M=GHAGA<KLGHJ=K;JA:=JK=P9;=J:9L=<

  L@=GHAGA<;JAKAK J=;=FL%GMJF9DG>E=JA;9F(=<A;9DKKG;A9LAGFKLM<Q9F9DQR=<L@==FL=JK>GJ

  (=<A;9J= 9F< (=<A;9A< .=JNA;=K\ *H=F +9QE=FLK <9L9:9K= J=?9J<AF? H@9JE9;=MLA;9D ;GEH9FQ

  E9JC=LAF?=>>GJLKLGO9J<K<G;LGJK 9KO=DD9K<9L9GFHJ=K;JAHLAGFGHAGA<GN=J<GK=<=9L@K9F<

  HJ=K;JA:AF?J9L=K LG9KK=KKO@=L@=JH@9JE9;=MLA;9DE9JC=LAF?G>GHAGA<KLGH@QKA;A9FK9>>=;L=<L@=

  J9L=G>HJ=K;JAHLAGFGHAGA<GN=J<GK=<=9L@K 

            /@= %( KLM<Q 9F9DQR=< L@=K= E9JC=LAF? HJ9;LA;=K >JGE M?MKL     L@JGM?@

  =;=E:=J      /@=K= <9L=K 9J= KA?FA>A;9FL  9K L@= KLM<Q ;9HLMJ=K L@= K9E= LAE=>J9E= L@9L

  (;&AFK=QAEHD=E=FL=<63#0$)"3(&9L+MJ<M= 




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 
     $F9 HJ=K=FL9LAGFLG+MJ<M=\K *9F<1+G>.9D=K9F<(9JC=LAF? (;&AFK=QJ=>=J=F;=<
(;&AFK=Q\KYHJAGJ=PH=JA=F;=KK=JNAF?+MJ<M=L@9L?G:9;C Q=9JK Z+J=K=FL9LAGF:Q(;&AFK=QLG
%G@F.L=O9JL9F<-MKK=DD"9K<A9=FLALD=<%&/5*':*/((3"/6-"3(3085)0110356/*5*&4'039:0/5*/ 
*3450"3%1%"5& <9L=<%MDQ   +?  
  2@AD=(;&AFK=Q\KJ=D9LAGFK@AHOAL@+MJ<M=<9L=K:9;CLG9HHJGPAE9L=DQ  L@==9JDA=KLCFGOF
<=L9ADKG>ALKOGJC>GJ+MJ<M=<9L=LG%MF=  2@9L(;&AFK=Q<A<>GJ+MJ<M=:=>GJ= OADD:=
L@=KM:B=;LG><AK;GN=JQ 
  
     .;GLL #9<D9F<&5"-  440$*"5*0/0')"3."$&65*$"-/%6453:"3,&5*/(0'1*0*%30%6$54
8*5)035"-*5:'30.1*0*%&-"5&%*N=J<GK=K %()=LOGJC %9FM9JQ   "7"*-"#-&"5 
@LLHK B9E9F=LOGJC ;GE BGMJF9DK B9E9F=LOGJCGH=F >MDD9JLA;D=  
                                                 

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      Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 31 of 54 PageID #: 31




            /@= KLM<Q FGL=< YH@QKA;A9F HJ=K;JA:=JK 9J= L@= EGKL >J=IM=FL KGMJ;= G> HJ=K;JAHLAGF

  GHAGA<K>GJAF<ANA<M9DKO@GMK=GHAGA<KFGF E=<A;9DDQZ9F<>GMF<YAF;J=9K=<;GMFLQ D=N=DGHAGA<

  E9JC=LAF?O9K9KKG;A9L=<OAL@=D=N9L=<GN=J<GK=EGJL9DALQQ=9JD9L=J 9F9KKG;A9LAGFE=<A9L=<:Q

  GHAGA< HJ=K;JA:AF? J9L=K H=J ;9HAL9  L@= FME:=J G> E9JC=LAF? AFL=J9;LAGFK OAL@ H@QKA;A9FK

  <=EGFKLJ9L=<9KLJGF?=J9KKG;A9LAGFOAL@EGJL9DALQL@9FL@=<GDD9JN9DM=G>E9JC=LAF? Z

            (9JNAFGO=J 9(;&AFK=Q>GMF<=J9F<E9F9?AF?<AJ=;LGJ>JGE LG AFKLADD=<

  9F=L@GK9L(;&AFK=QY=DAN=J:9<F=OKA>QGMEMKL :ML<=DAN=JALHJGH=JDQ Z

            /@=J= O9K :9< F=OK  /@=J= O9K FG HJGH=J O9Q (;&AFK=Q ;GMD< @=DH 9 :MKAF=KK

  CFGOAF?DQE9PAEAR=L@==P;=KKAN=K9D=KG>ALK9<<A;LAN=GHAGA<K 9F<9DD L@= EGJ= KG GF=L@9L@9<

  HD=<?MADLQLG>=<=J9D;JAE=KAFE9JC=LAF?ALKGHAGA<K MLFGF=L@=D=KK(;&AFK=Q<AKJ=?9J<=<L@=

  :9<F=OK9F<H9JLF=J=<OAL@+MJ<M=9F<L@=.9;CD=JKLGHMK@EADDAGFKEGJ=GHAGA<HADDKGF9F9LAGF

  <==HAFLG9F=HA<=EA; 

            *F*;LG:=J   L@=F9LAGFOA<=GHAGA<=HA<=EA;O9K<=;D9J=<9F9LAGF9DYHM:DA;

  @=9DL@=E=J?=F;Q ZML(;&AFK=Q;GFLAFM=<LGHJGHGK=KGDMLAGFKLGL@=.9;CD=JK9F<+MJ<M=LG

  >MJL@=J:GGKLGHAGA<K9D=K '=KKL@9FLOGEGFL@KD9L=J (;&AFK=QHJGHGK=<@A?@AEH9;LO9QKLG

  9NGA<DGKAF?+MJ<M=\K9;;=KKLGL@=J=L9ADE9JC=L>GJGHAGA<K EGF?L@=EO9KH9QAF?EGF=QW

  YJ=:9L=KZ WO@=F KGE=GF= GN=J<GK=< GF +MJ<M=\K GHAGA<K  $F (;&AFK=Q H9JD9F;=  J=:9L=K >GJ

  >MLMJ=*PQGFLAFGN=J<GK=KOGMD<:=;9DD=<Y N=FL 9K=<;GFLJ9;LK Z




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 
      %
  
      % 
  
      (;GF9D< )&*3. H?  
  
     2GFKMDL9FL =K= ZO@=F9HHDA=<LGOGJC9K?JAE9KE9PAEARAF?GHAGA<K9D=KAFL@=>9;=G>9F9LAGF9D
<AK9KL=J D=<GF=>GJE=J(;&AFK=Q;GFKMDL9FLLGKL9L=Y/@AKAKL@=:9F9DALQG>=NAD (   =<ALAGF Z
29DLG?<9FA;@9F<(A;@9=D!GJKQL@= $*/4&:30104&%":*/()"3."$:0.1"/*&4&#"5&4'03
9:0/5*/7&3%04&4 )=O4GJC/AE=K )GN=E:=J   "7"*-"#-&"5
@LLHK OOO FQLAE=K ;GE     :MKAF=KK (;&AFK=Q HMJ<M= GPQ;GFLAF GHAGA<K @LED
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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 32 of 54 PageID #: 32




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               ;-%!.).'&5,< 2%"!4% !##/2$).' 4/ #).3%9 -)'(4 "% "%47%%.           !.$       0%2

    /##522%.#%/&/6%2$/3%/2/0)/)$53%$)3/2$%2"544(%'/!,7!34/"!,!.#%7(!4#).3%9

    #!,,%$ 4(% ;-%!.).'&5,.%33< /& 4(% !-/5.4 0!)$ ). 2%"!4% !'!).34 4(% ,%6%, /& ;&).!.#)!, 02/4%#4)/.< )4

    02/6)$%$02%35-%$,94/4(%2%4!),%2

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 33 of 54 PageID #: 33




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              (%2% )3 #,%!2 02//& /& #).3%9=3 /7. ,%'!, ,)!"),)49 #/.#%2.3 /6%2 )43 2/,% ). -!2+%4).'

    !$$)#4)6%/0)/)$3(%15%34)/.2!)3%$).#).3%9-!.!'%-%.4%-!),37!3./4" 4/$%342/9%6)$%.#%

    "547(!44/$/).!$$)4)/.4/$%342/9).'%6)$%.#%




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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 34 of 54 PageID #: 34




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               DDAF?\KHJ=<A;LAGFL@9LL@AF?KOGMD<Y?=LLGM?@=JZ>GJ+MJ<M=OGMD<HJGN=GML 

                 +((&10'7,.6:.($

              *F*;LG:=J   +MJ<M=W(;&AFK=Q\K;G ;GFKHAJ9LGJW9?9AF9?J==<OAL@L@=0FAL=<

    .L9L=K=H9JLE=FLG>%MKLA;=LGHD=9<?MADLQLGOJGF?>MDE9JC=LAF?G>*PQGFLAF9F<GL@=JGHAGA<K 

    /@AKLAE=L@=HD=99?J==E=FL;GF;=JF=<ALKGHAGA<E9JC=LAF?9F<K9D=K;GF<M;L>JGE  LG  

    O@=F (;&AFK=Q O9K ;GFKHAJAF? OAL@ 9F< 9A<AF? 9F< 9:=LLAF? +MJ<M=  -@G<=K 9F< L@= .9;CD=JK AF

    J=9;@AF?L@=AJEGF=Q?G9DK 

              +MJ<M=9?J==<LGHD=9<?MADLQLG9<M9D G:B=;L;GFKHAJ9;QLG<=>J9M<L@=0FAL=<.L9L=K9F<

    LGNAGD9L=L@=!GG< JM? 9F<GKE=LA;;L 0 .  T  9EGF?GL@=J;@9J?=K J=D9LAF?LG

    ALKGHAGA<K9D=K9F<E9JC=LAF?HJ9;LA;=K9>L=JL@=   ?MADLQHD=9 

              /@=F=OHD=99?J==E=FL<G=KFGLF9E=+MJ<M=\K;G ;GFKHAJ9LGJK(;&AFK=QAKJ=>=JJ=<

    LG9KYL@=;GFKMDLAF?;GEH9FQ Z


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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 35 of 54 PageID #: 35




              +MJ<M=\KF=O?MADLQHD=9;GF;=JFKGN=J=<GF<M;L9K<=>AF=<AFL@=HD=99?J==E=FL

    9F<9<<J=KK=KL@=LAE=>J9E=G>L@AKGEHD9AFL 

              $F<==<  )0(/*. //' ( )/"-                       ( )/9LL9;@=<LG 3#$$/LG

    L@=+MJ<M=  HD=99?J==E=FLKL9L=K:DMFLDQL@=0 . =H9JLE=FLG>%MKLA;=9DD=?9LAGFL@9LY+MJ<M= 

    AF;GDD9:GJ9LAGFOAL@5(;&AFK=Q6 AEHD=E=FL=<E9FQG>5(;&AFK=Q\K6J=;GEE=F<9LAGFK Z+D9AFLA>>

    9DD=?=KL@=K9E=@=J= 

              !MJL@=J  )0(;GFLAFM=KL@9LY  Z530+&$563#0$)"3(&6YO9KGN=JK==F:Q

    5(;&AFK=Q69F<KGE=G>+MJ<M=\KLGH=P=;MLAN=KL@JGM?@L@=;J=9LAGFG>L@=   P=;MLAN=*N=JKA?@L

    /=9EY */Z9F<+JGB=;L(9F9?=E=FL*>>A;=Y+(*Z Z+D9AFLA>>@9K9DD=?=<L@=K9E=@=J=9F<

    9;CFGOD=<?=K L@9L E9FQ G> L@= 9DD=?9LAGFK G> >9;L ;GFL9AF=< AF L@AK GEHD9AFL 9J= KAEAD9J LG L@=

    9DD=?9LAGFKJ=;AL=<AF )0(:QL@=0 . =H9JLE=FLG>%MKLA;=L@9L9;;GEH9FA=<L@=*;LG:=J

       +MJ<M=HD=99?J==E=FL 

              *F =;=E:=J      (;&AFK=Q AKKM=< 9 J9J= HM:DA; KL9L=E=FL GF ALK O=:KAL=

    J=?9J<AF?ALKOGJCOAL@9KH=;A>A;;GEH9FQ /@=;GEH9FQO9K+MJ<M= 9F<L@=KL9L=E=FLO9KAKKM=<

    AF J=KHGFK= LG +MJ<M=\K K=;GF< >=<=J9D ?MADLQ HD=9 9F< E=<A9 J=HGJLK J=?9J<AF? (;&AFK=Q\K

    *PQGFLAFOGJC9>L=J       




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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 36 of 54 PageID #: 36




              /@=J=AKFGF==<LG<AKK=;L AFL@AKGEHD9AFL (;&AFK=Q\KHM:DA;9LL=EHLLGG:>MK;9L=

    O@9LAL<A<9L+MJ<M=LG:=F=>ALL@=.9;CD=JK9F<LGL@=<=LJAE=FLG>L@=@=9DL@G>L@=H=GHD=9F<

    HM:DA;AFKLALMLAGFKG>L@=0FAL=<.L9L=KAF;DM<AF?+D9AFLA>>K 

                                              

                                    
                        #  
                                     ; (65(3

                  +D9AFLA>>KJ= 9DD=?=9F<AF;GJHGJ9L=:QJ=>=J=F;==9;@9F<=N=JQ9DD=?9LAGF;GFL9AF=<

    AFL@=HJ=;=<AF?H9J9?J9H@K9KA>L@=QO=J=K=LGMLAF>MDD@=J= 

                  GMFL$AK:JGM?@L:Q+D9AFLA>>KGF:=@9D>G>L@=EK=DN=K 

                  L9DDJ=D=N9FLLAE=K =>=F<9FL(;&AFK=QAK9YH=JKGFZOAL@AFL@=E=9FAF?G>

    0 .  T:=;9MK=ALAK;9H9:D=G>@GD<AF? 9F<<G=K@GD< 9YD=?9DGJ:=F=>A;A9DAFL=J=KLAF

    HJGH=JLQ Z

                  -$* E9C=K AL YMFD9O>MD >GJ 9FQ H=JKGF =EHDGQ=< :Q GJ 9KKG;A9L=< OAL@ 9FQ

    =FL=JHJAK==F?9?=<AF GJL@=9;LANALA=KG>O@A;@9>>=;L AFL=JKL9L=GJ>GJ=A?F;GEE=J;= LG;GF<M;L

    GJH9JLA;AH9L= <AJ=;LDQGJAF<AJ=;LDQ AFL@=;GF<M;LG>KM;@=FL=JHJAK=\K9>>9AJKL@JGM?@9H9LL=JFG>

    J9;C=L==JAF?9;LANALQ Z0 .  :  #

              -$* E9C=K AL MFD9O>MD >GJ Y9FQ H=JKGF LG ;GFKHAJ= LG NAGD9L=Z L@= HJGNAKAGFK G> 

    0 .  T; 0 .  T< 

              K 9DD=?=< @=J=AF  9L 9DD J=D=N9FL LAE=K  =>=F<9FL (;&AFK=Q =F9:D=< +MJ<M= LG

    9??J=KKAN=DQE9JC=L HJGEGL= <AKLJA:ML=9F<K=DDALKGHAGA<KL@JGM?@GML&=FLM;CQ9F<=DK=O@=J=9;JGKK

    L@=F9LAGF:QGN=J =EH@9KARAF?O@9LALJ=HJ=K=FL=<LG:=L@=MF<=J LJ=9LE=FLG>H9AF9F<<=;=HLAN=DQ

    E9JC=LAF?GHAGA<K9K:=AF?9J9J=DQ A>=N=J 9<<A;LAN=:K9>=9F<=>>=;LAN=>GJL@=LJ=9LE=FLG>

    ;@JGFA;DGF? L=JEH9AF9F<=N=JQ<9QMK=;9:MK=J=KAKL9FLGJ<=L=JJ=FL9F< GJ<K9>=9F<=>>=;LAN=

    >GJGL@=JLQH=KG>H9AF>GJO@A;@L@=<JM?KO=J=FGL9HHJGN=< =>=F<9FL(;&AFK=Q@9<9<=L9AD=< 

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 37 of 54 PageID #: 37




    O@9LALL=JE=<9?J9FMD9J MF<=JKL9F<AF?G>+MJ<M=9F<ALK:MKAF=KKEG<=DAF;DM<AF?ALKHJG<M;LK ALK

    E9JC=LAF? 9F< K9D=K KLJ9L=?A=K 9F< L9;LA;K  L@= OGJC G> ALK K9D=K >GJ;=  9F< ALK E9F9?=E=FL 9F<

    GOF=JK@AH  9F< @9< ;GEHJ=@=FKAN= CFGOD=<?= G> +MJ<M= 9F< J=D9L=< ;GEH9FA=K 9F< L@= .9;CD=JK\

    JGD=KAFL@=GOF=JK@AH ;GFLJGD9F<E9F9?=E=FLG>+MJ<M=9F<J=D9L=<;GEH9FA=K (;&AFK=QBGAF=<

    OAL@ +MJ<M= AF L@GK= 9;LAGFK  AF;DM<AF? =>>GJLK LG =N9<= L@= KLJA;LMJ=K G> L@= GJHGJ9L= $FL=?JALQ

    ?J==E=FLHJ=NAGMKDQ<=K;JA:=<L@9L9;;GEH9FA=<+MJ<M=\K             HD=9G>?MADLQLGNAGD9LAGFG>>=<=J9D

    D9O 9F<AF;DM<AF?9;GFLAFM9LAGFG>KAEAD9J9F<=PH9F<=<:=@9NAGJK;9D;MD9L=<LGNAGD9L=L@=D9O 9F<

    O@A;@D9L=JJ=KMDL=<AF9K=;GF<?MADLQHD=9K=LGMLAF<=L9ADAFL@=0 . =H9JLE=FLG>%MKLA;=D=LL=J

    <9L=<*;LG:=J   ;GMFL=JKA?F=<AF9*(+)4- +- . )//$1 \. -/$!$/ :Q

    L@=@9AJE9FG>L@=G9J<G>AJ=;LGJKG>+MJ<M=9F<:QGMFK=D>GJ+MJ<M=AF9 -/$!$/ *!

    *0). ' -=D9L=<LGL@=F=O?MADLQHD=9O9KY 3#$$/ . //' ( )/"-                           ( )/ZL@9L 

    AFH9J9?J9H@ ? L@=J=G> KH=;A>A;9DDQ=P;DM<=<Y;GFKMDL9FLKZLG+MJ<M=9F<9>>ADA9L=<=FLALA=K>JGE

    :=AF? J=D=9K=< MF<=J ALK L=JEK  =>=F<9FL (;&AFK=Q O9K L@= ;GFKMDLAF? ;GEH9FQ J=>=J=F;=< AF

    EMDLAHD=H9J9?J9H@KG>Y )0(/*. //' ( )/"-                          ( )/Z9LL9;@=<LG 3#$$/

    LGL@=+MJ<M=  HD=99?J==E=FL<=L9ADAF?(;&AFK=Q\K9A<AF?9F<9:=LLAF?9F<;GFKHAJAF?AFL@=

    OJGF?<GAF?G>+MJ<M=<MJAF?L@=Q=9JK;GN=J=<AFL@=?MADLQHD=99?J==E=FL   W  9DDOAL@L@=

    HMJHGK=KG>9;@A=NAF?=P;=KKAN=HJG>ALK=F9:DAF?+MJ<M=LGLJ9FK>=J=P;=KKAN=9EGMFLKG>EGF=QLG

    L@=GOF=JKG>+MJ<M= L@=.9;CD=JK 

              $FH9JLA;MD9J (;&AFK=QO9K=EHDGQ=<:Q9F<;@GK=LG9KKG;A9L=OAL@+MJ<M= -@G<=K

    9F<L@=.9;CD=JK 9F<;GF<M;L=<9F<H9JLA;AH9L=<AFL@=9>>9AJKG>+MJ<M=L@=Y*HAGA< FL=JHJAK=Z 

    O@GK=HMJHGK=O9KLG<=;=AN=GHAGA<HJ=K;JA:=JK 9F<L@=HM:DA;9F<J=?MD9LGJKAFLG:=DA=NAF?L@9L9

    GHAGA<K O=J= K9>= 9F< =>>=;LAN= >GJ L@= LJ=9LE=FL G> DGF? L=JE ;@JGFA; H9AF : GHAGA<K HJ=K=FL=<

    EAFAE9DJAKCG>9<<A;LAGF9F< GJ;+MJ<M=O9KAF;GEHDA9F;=OAL@&=FLM;CQ9F<>=<=J9DJ=HGJLAF?

    G:DA?9LAGFK $FH9JLA;AH9LAF?AFL@AK=FL=JHJAK= (;&AFK=QKGM?@LLGE9PAEAR=+MJ<M=\K9F<-@G<=K\

                                                     

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 38 of 54 PageID #: 38




    J=N=FM=K9F<HJG>ALK9F<L@=.9;CD=JK\J=;=AHLKL@=J=>JGEL@JGM?@L@=<=KA?F E9FM>9;LMJ= E9JC=LAF? 

    HJGEGLAGF <AKLJA:MLAGF9F<K9D=G>GHAGA<KO@A;@ AF>9;L O=J=@A?@DQ9<<A;LAN=9F<G>L=FAF=>>=;LAN=

    9F<<9F?=JGMK 

                K 9 <AJ=;L 9F< HJGPAE9L= J=KMDL G> L@AK K;@=E= 9F< ;GEEGF ;GMJK= G> ;GF<M;L 

    (;&AFK=QO9K9:D=LG=PLJ9;L:ADDAGFKG><GDD9JKG>HJG>AL>GJ+MJ<M=9F<-@G<=K9F<>GJ<AKLJA:MLAGF

    LG L@= .9;CD=JK  K =PHD9AF=< AF <=L9AD 9:GN= 9F< :=DGO  (;&AFK=Q\K Q=9JK DGF? EAK;GF<M;L

    NAGD9L=<0 .  T; < 

                 +(2,1,'06(424,5(

               L9DDJ=D=N9FLLAE=K (;&AFK=Q9DGF?OAL@+MJ<M= -@G<=K 9F<L@=.9;CD=JK9KKG;A9L=<

    9F<K;@=E=<AFL@=E9JC=LAF? HJGEGLAGF <AKLJA:MLAGF9F<K9D=G>GHAGA<K9F<GH=J9L=<9FY=FL=JHJAK=Z

    OAL@AFL@=E=9FAF?G>0 .  T /@AKY*HAGA< FL=JHJAK=Z9=PAKL=<K=H9J9L=DQ>JGE=9;@

    G>ALK;GEHGF=FL=FLALA=K:=PAKL=<K=H9J9L=DQ>JGEL@=H9LL=JFG>J9;C=L==JAF?AFO@A;@(;&AFK=Q

    =F?9?=<9F<;;GFKLALML=<9FGF?GAF?GJ?9FAR9LAGF;GFKAKLAF?G>D=?9D=FLALA=K AF;DM<AF? :MLFGL

    DAEAL=<LG (;&AFK=Q +MJ<M= .9;CD=J>9EADQE=E:=JK -@G<=K 9KO=DD9KGL@=JK 

               2AL@AF L@= *HAGA< FL=JHJAK=  L@=J= O9K 9 ;GEEGF ;GEEMFA;9LAGF F=LOGJC :Q O@A;@

    E=E:=JK=P;@9F?=<AF>GJE9LAGFGF9J=?MD9J:9KAKL@JGM?@L@=MK=G>OAJ=K9F<E9AD /@=*HAGA<

        FL=JHJAK= MK=< L@AK ;GEEGF ;GEEMFA;9LAGF F=LOGJC >GJ L@= HMJHGK= G> <=;=HLAN=DQ E9JC=LAF? 

    K=DDAF?  9F< <AKLJA:MLAF? GHAGA<K LG L@= ?=F=J9D HM:DA;  2@=F L@=AJ HJG<M;LK  E9JC=LAF?  HJGEGLAGF 

    <AKLJA:MLAGFK K9D=K 9F<>9ADMJ=LGJ=HGJLKMKHA;AGMKK9D=KO=J=IM=KLAGF=<:QGL@=JH9JLA=K AF;DM<AF?

    H@QKA;A9FK9F<H@9JE9;A=K L@=*HAGA< FL=JHJAK=E=E:=JKLGGC9;LAGFLG@A<=L@=K;@=E= LGHJ=N=FL

    ALK<AK;GN=JQ 9F<;GFLAFM=ALK=PAKL=F;= 

               /@=H9JLA;AH9FLKAFL@=*HAGA< FL=JHJAK=O=J=KQKL=E9LA;9DDQDAFC=<LG=9;@GL@=JL@JGM?@

    ;GJHGJ9L=LA=K ;GFLJ9;LM9DJ=D9LAGFK@AHK >AF9F;A9DLA=K9F<L@=;GFLAFMAF?;GGJ<AF9LAGFG>9;LANALA=K 

    /@JGM?@ L@= *HAGA< FL=JHJAK=  (;&AFK=Q >MF;LAGF=< 9K 9 ;GFLAFMAF? MFAL OAL@ L@= HMJHGK= G>
                                                     

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 39 of 54 PageID #: 39




    >MJL@=JAF? L@= ADD=?9D K;@=E= 9F< L@= ;GEEGF HMJHGK=K G> AF;J=9KAF? +MJ<M=\K 9F< -@G<=K\ K9D=K 

    J=N=FM=K 9F<HJG>ALK 9F<E9JC=L>GJGHAGA<K9F<EAFAEARAF?+MJ<M=\KDGKK=KFGLOAL@KL9F<AF?L@=>AN=

    Q=9JDGF?GJHGJ9L=$FL=?JALQ?J==E=FLL@9L9;;GEH9FA=<+MJ<M=\KHD=9G>?MADLQLG>=<=J9D;JAE=K

    AF        9F< >GJ E9FQ Q=9JK >GDDGOAF? L@= =PHAJ9LAGF G> L@= GJHGJ9L= $FL=?JALQ ?J==E=FL  9;@

    E=E:=JG>L@=*HAGA< FL=JHJAK=J=9H=<L@=:GMFLQ?=F=J9L=<:QL@==FL=JHJAK=:QK@9JAF?L@=:=F=>AL

    <=JAN=<>JGEAF;J=9K=<K9D=KG>GHAGA<K9F<GL@=JJ=N=FM=?=F=J9L=<:QL@=K;@=E=LGAEHGK=L@=AJ

    OADDGFHJ=K;JA:=JK H@9JE9;A=K9F<;GFKME=JK9F<:Q>9ADAF?LGJ=HGJLKMKHA;AGMKK9D=K9F<>AF<AF?

    9DL=JF9LAN=H9L@K>GJ9;@A=NAF?K9D=KAFL@==N=FLG>J=KAKL9F;=AFL@=<AKLJA:MLAGF9F<K9D=KF=LOGJC 

                /@=*HAGA< FL=JHJAK==F?9?=<AF<=;=HLAN=E9JC=LAF? HJGEGLAGF <AKLJA:MLAGF9F<K9D=

    G>GHAGA<K9KFGF 9<<A;LAN= 9F<9KK9>=9F<=>>=;LAN=>GJ;@JGFA;DGF? L=JEH9AF9F<>GJMK=KFGL!

    9HHJGN=< !MJL@=J L@=*HAGA< FL=JHJAK=FGLGFDQ>9AD=<LGJ=HGJLKMKHA;AGMKK9D=K:ML9DKGA<=FLA>A=<

    @MJ<D=K LG <AKLJA:MLAGF 9F< K9D=K 9F< <=NAK=< 9F< AEHD=E=FL=< EMDLAHD= L9;LA;K LG GN=J;GE= L@GK=

    G:KL9;D=K /@=*HAGA< FL=JHJAK==F?9?=<AFKM;@9;LANALQ>GJL@=HMJHGK=G>E9PAEARAF?L@=K9D=G>

    9F<HJG>ALK>JGEGHAGA<K /G>MD>ADDL@AKHMJHGK= L@=*HAGA< FL=JHJAK=9<NG;9L=<>GJ 9F<;9MK=<L@=

    GN=J <AKLJA:MLAGF9F<GN=J HJ=K;JAHLAGFG> GHAGA<K:QE9JC=LAF? HJGEGLAF? 9<N=JLAKAF? 9F<K=DDAF?

    GHAGA<KL@JGM?@GML&=FLM;CQ9F<L@=;GMFLJQ 9F<:Q>9ADAF?LGJ=HGJLKMKHA;AGMKK9D=K /@=AJJ=;=AHL

    G>EGFA=K>JGEL@=K=9;LANALA=K@9K;GFK=IM=FLA9DDQ9>>=;L=<&=FLM;CQ9F<AFL=JKL9L=;GEE=J;= /@=

    *HAGA< FL=JHJAK=\KH9KL9F<GF?GAF?HJ9;LA;=KL@MK;GFKLALML=9H9LL=JFG>J9;C=L==JAF?9;LANALQMF<=J

    0 .  T 

                /@JGM?@ L@AK ADD=?9D =FL=JHJAK=  (;&AFK=Q 9K 9 ;G ;GFKHAJ9LGJ =F?9?=< AF 9 H9LL=JF G>

    J9;C=L==JAF?9;LANALQL@9LAFNGDN=<9K;@=E=LGAF;J=9K=J=N=FM=>GJ+MJ<M= L@=.9;CD=JK -@G<=K9F<

    L@=GL@=J=FLALA=K9F<AF<ANA<M9DK9KKG;A9L=<AF>9;LOAL@L@=*HAGA< FL=JHJAK=\K9;LANALA=KL@JGM?@L@=

    <=;=HLAN=E9JC=LAF? HJGEGLAF? <AKLJA:MLAF?9F<K=DDAF?G>GHAGA<K9F<L@=>9ADMJ=LGJ=HGJLKMKHA;AGMK

    K9D=K 

                                                       

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 40 of 54 PageID #: 40




               (;&AFK=QH9JLA;AH9L=<AFGH=J9LAF?9F<E9F9?AF?L@=*HAGA< FL=JHJAK=:Q<AJ=;LAF?ALK

    9>>9AJK9K<=K;JA:=<AFL@AKGEHD9AFL 2@AD=(;&AFK=QH9JLA;AH9L=<AF 9F<AK9E=E:=JG> L@=*HAGA<

        FL=JHJAK=  (;&AFK=Q @9K 9 K=H9J9L= =PAKL=F;= >JGE L@= *HAGA< FL=JHJAK=  AF;DM<AF? <AKLAF;L D=?9D

    KL9LMK  <A>>=J=FL G>>A;=K 9F< JGD=K  :9FC 9;;GMFLK  G>>A;=JK  <AJ=;LGJK  =EHDGQ==K  AF<ANA<M9D

    H=JKGF@GG< J=HGJLAF?J=IMAJ=E=FLK 9F<>AF9F;A9DKL9L=E=FLK 

               (;&AFK=Q9F<GL@=JE=E:=JKG>L@=*HAGA< FL=JHJAK=>MJL@=J=<L@==F<KG>L@=*HAGA<

        FL=JHJAK=L@JGM?@L@=9;LK9F<GEAKKAGFKHD=<AFL@AKGEHD9AFL 

               (;&AFK=Q;J9>L=<9F<AEHD=E=FL=<L@=J=D=FLD=KKE9JC=LAF? HJGEGLAGF <AKLJA:MLAGF9F<

    K9D=K9F<(;&AFK=Q\KKM;;=KKAFE9PAEARAF?+MJ<M=\K9F<-@G<=K\K9D=K9F<HJG>ALKO9K<M=LGL@=

    LA?@L;GDD9:GJ9LAGF9EGF?L@=GHAGA<;GEH9FA=K AF;DM<AF?9EGF?+MJ<M= -@G<=K 9F<L@=.9;CD=JKX

    9>GJEA<9:D=H9JLF=JK@AHL@9LE9JC=L=<LG@MF<J=<KG>L@GMK9F<KG>HJ=K;JA:=JK9;JGKKL@=;GMFLJQ /@=

    J=D9LAGFK@AH O9K KLJ=F?L@=F=<  AF H9JL  :Q AF<ANA<M9DK  AF;DM<AF? H@QKA;A9FK  L@9L @=D< <A>>=J=FL

    D=9<=JK@AH9F<GOF=JK@AHJGD=K9L+MJ<M=GN=JL@=Q=9JK 

               !MJL@=JEGJ= (;&AFK=QCFGOAF?DQ=F?9?=<OAL@+MJ<M=9F<@9<+MJ<M=GH=J9L=9KQKL=E

    LG=N9<==>>GJLKG>GL@=JKLGHJ=N=FLGJJ=<M;=KMKHA;AGMKGJ<=JKG>;GFLJGDD=<KM:KL9F;=K9F<>9AD=<LG

    FGLA>QL@=9HHJGHJA9L= >A=D<<ANAKAGFG>>A;=KAFL@=AJ9J=9KG>KMKHA;AGMKGJ<=JK AF;DM<AF?YGJ<=JK

    G>MFMKM9DKAR= GJ<=JK<=NA9LAF?KM:KL9FLA9DDQ>JGE9FGJE9DH9LL=JF 9F<GJ<=JKG>MFMKM9D>J=IM=F;Q Z

     ! - T  : 

                /@= *HAGA< FL=JHJAK= OGJC=< LG?=L@=J LG >MJL@=J L@= =FL=JHJAK= :Q L@= >GDDGOAF?

    E9FF=J9F<E=9FK

               9 BGAFLDQHD9FFAF?LG<=;=HLAN=DQE9FM>9;LMJ= E9JC=L HJGEGL= <AKLJA:ML=9F<K=DDGHAGA<K
                   9KFGF 9<<A;LAN= K9>= 9F<=>>=;LAN=>GJL@=LJ=9LE=FLG>;@JGFA;DGF? L=JEH9AF
                   
               : ;GF;=9DAF?L@=9<<A;LAN=IM9DALA=K9F<JAKCKG>GHAGA<K>JGEHJ=K;JA:=JK9F<L@=HM:DA;
              
               ; EAKD=9<AF?L@=HM:DA;9:GMLL@=9<<A;LAN=F9LMJ= K9>=LQ9F<=>>A;9;QG>GHAGA<K
              
               < GL@=JOAK=EAKJ=HJ=K=FLAF?GJ;GF;=9DAF?L@=@A?@DQ<9F?=JGMKF9LMJ=G> GHAGA<K>JGE
                                                      

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 41 of 54 PageID #: 41




                  HJ=K;JA:=JK9F<L@=HM:DA;
              
               = ADD=?9DDQE9JC=LAF? HJGEGLAF? <AKLJA:MLAF?9F<K=DDAF?GHAGA<K
              
               > ;GDD=;LAF?J=N=FM=K9F<HJG>ALK>JGEL@=K9D=G>KM;@HJG<M;LK>GJMK=K>GJO@A;@L@=Q
                   9J=MF9HHJGN=< MFK9>= GJAF=>>=;LAN=9F< GJ
              
               ? >9ADAF?LGJ=HGJLKMKHA;AGMKK9D=K9KJ=IMAJ=<:QD9O 9F< GJ:DMFLAF?L@==>>GJLKG>GL@=JK
                   LGJ=HGJLGJHJ=N=FLGJJ=<M;=KM;@K9D=K 

               /G9;@A=N=L@=;GEEGF?G9DK (;&AFK=Q9A<=<9F<9:=LL=<L@=@A<AF?>JGEL@=?=F=J9D

    HM:DA;L@=>MDD=PL=FLG>L@=MFK9>=9F<AF=>>=;LAN=F9LMJ=G>GHAGA<K>GJ;@JGFA;9F<GL@=JLQH=KG>H9AF

    9K <=K;JA:=< @=J=AF  9F< L@= KMHHJ=KKAF? 9F< GJ A?FGJAF? 9F< =N9<AF? G> O9JFAF?K 9:GML 9F< G>

    J=KAKL9F;=>JGEL@AJ<H9JLA=K;GF;=JFAF?L@=9<<A;LAN= MFK9>= 9F<G>L=FAF=>>=;LAN=F9LMJ=G>GHAGA<K 

                /@= >GJ=?GAF? 9DD=?9LAGFK KMHHGJL L@9L (;&AFK=Q O9K H9JL G> 9F 9KKG;A9LAGF G>

    =FLALA=K L@9L K@9J=< 9 ;GEEGF HMJHGK=  @9< J=D9LAGFK@AHK 9;JGKK N9JAGMK E=E:=JK G> L@= *HAGA<

        FL=JHJAK= 9F<;GDD9:GJ9L=<LG>MJL@=JL@=?G9DKG>L@=*HAGA< FL=JHJAK=>GJ9;GFLAFMGMKH=JAG<G>

    LAE=  (;&AFK=Q CFGOAF?DQ 9F< AFL=FLAGF9DDQ =F?9?=< AF <=;=HLAN= E9JC=LAF?  HJGEGLAGF 

    <AKLJA:MLAGF 9F< K9D=K HJ9;LA;=K 9F< AF;=FLANAR=< <AKLJA:MLGJK 9F< H@QKA;A9FK LG <G KG 9K O=DD 

    (;&AFK=Q CFGOAF?DQ 9F< AFL=FLAGF9DDQ =F9:D=< +MJ<M= 9F< -@G<=K LG >9AD LG J=HGJL KMKHA;AGMK

    GJ<=JK 9K J=IMAJ=< :Q KL9L= 9F< >=<=J9D D9O 9F< (;&AFK=Q  +MJ<M=  -@G<=K 9F< L@= .9;CD=JK

    AFMF<9L=<L@=E9JC=LOAL@GHAGA<K 

                 $,.$0'   ,4(4$7'

               /G9LL=EHLLG;9JJQGML9F<LG;9JJQGMLL@=K;@=E= (;&AFK=Q 9H=JKGF9KKG;A9L=<AF>9;L

    OAL@ L@= *HAGA< FL=JHJAK=  <A< CFGOAF?DQ ;GF<M;L 9F< H9JLA;AH9L=  <AJ=;LDQ 9F< AF<AJ=;LDQ  AF L@=

    ;GF<M;LG>L@=9>>9AJKG>L@=*HAGA< FL=JHJAK=L@JGM?@9H9LL=JFG>J9;C=L==JAF?9;LANALQOAL@AFL@=

    E=9FAF?G>0 .  TT 9F<;9F<(;&AFK=Q=EHDGQ=<L@=MK=G>L@=E9AD

    9F<OAJ=>9;ADALA=K AFNAGD9LAGFG>0 .  TTE9AD>J9M<9F<OAJ=>J9M< 



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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 42 of 54 PageID #: 42




              .H=;A>A;9DDQ (;&AFK=Q@9K;GEEALL=< ;GFKHAJ=<LG;GEEAL 9F< GJ9A<=<9F<9:=LL=<AF

    L@= ;GEEAKKAGF G> 9L D=9KL LOG HJ=<A;9L= 9;LK G> J9;C=L==JAF? 9;LANALQ A =  NAGD9LAGFK G>  0 .  

    TT 9F<  OAL@AF L@= H9KL >GMJ Q=9JK  /@= EMDLAHD= 9;LK G> J9;C=L==JAF? 9;LANALQ O@A;@

    (;&AFK=Q;GEEALL=<GJ9A<=<9F<9:=LL=<AFL@=;GEEAKKAGFG>O=J=J=D9L=<LG=9;@GL@=J9F<9DKG

    HGK=<9L@J=9LG>;GFLAFM=<J9;C=L==JAF?9;LANALQ /@=QL@=J=>GJ=;GFKLALML=9YH9LL=JFG>J9;C=L==JAF?

    9;LANALQ Z /@= J9;C=L==JAF? 9;LANALQ O9K E9<= HGKKA:D= :Q (;&AFK=Q\K J=?MD9J MK= G> L@= >9;ADALA=K 

    K=JNA;=K <AKLJA:MLAGF;@9FF=DK 9F<=EHDGQ==KG>L@=*HAGA< FL=JHJAK= (;&AFK=QH9JLA;AH9L=<AFL@=

    K;@=E=:QMKAF?L@=E9AD L=D=H@GF=9F<$FL=JF=LLGLJ9FKEALE9ADAF?K9F<OAJ=KAFAFL=JKL9L=GJ>GJ=A?F

    ;GEE=J;= 

              (;&AFK=Q<=NAK=<9F<CFGOAF?DQ;9JJA=<GML9E9L=JA9DK;@=E=9F< GJ9JLA>A;=LG<=>J9M<

    J=?MD9LGJK  HJ=K;JA:=JK  9F< L@= HM:DA; LG G:L9AF EGF=Q :Q E=9FK G> E9L=JA9DDQ >9DK= GJ >J9M<MD=FL

    HJ=L=FK=K J=HJ=K=FL9LAGFK HJGEAK=KGJGEAKKAGFKG>E9L=JA9D>9;LK !GJL@=HMJHGK=G>=P=;MLAF?L@=

    ADD=?9D K;@=E=  (;&AFK=Q ;GEEALL=< L@=K= J9;C=L==JAF? ;LK AFL=FLAGF9DDQ 9F< CFGOAF?DQ OAL@ L@=

    KH=;A>A;AFL=FLLG9<N9F;=L@=ADD=?9DK;@=E= 

             
               (;&AFK=Q\KHJ=<A;9L=9;LKG>J9;C=L==JAF? 0 .  T AF;DM<=

             9 (9AD !J9M< (;&AFK=Q NAGD9L=<  0 .   T :Q K=F<AF? 9F< J=;=ANAF?  9F< :Q
                 ;9MKAF? LG := K=FL 9F< GJ J=;=AN=<  E9L=JA9DK NA9 0 .  E9AD GJ ;GEE=J;A9D AFL=JKL9L=
                 ;9JJA=JK>GJL@=HMJHGK=G>=P=;MLAF?L@=MFD9O>MDK;@=E=LG<=;=HLAN=DQE9JC=L K=DD
                 9F<<AKLJA:ML=L@=GHAGA<K:QE=9FKG>>9DK=HJ=L=FK=K EAKJ=HJ=K=FL9LAGFK HJGEAK=K9F<
                 GEAKKAGFK9F<
                 
             : 2AJ=!J9M<(;&AFK=QNAGD9L=<0 .  T:QLJ9FKEALLAF?9F< GJJ=;=ANAF? 9F<
                 :Q ;9MKAF? LG := LJ9FKEALL=< 9F< GJ J=;=AN=<  E9L=JA9DK :Q OAJ= >GJ L@= HMJHGK= G>
                 =P=;MLAF?L@=MFD9O>MDK;@=E=LG<=>J9M<9F<G:L9AFEGF=QGFEAKJ=HJ=K=FL9LAGFK9F<
                 >9DK=HJ=L=FK=K HJGEAK=K9F<GEAKKAGFK 

               (;&AFK=Q\K MK= G> L@= E9ADK 9F< OAJ=K AF;DM<=  :ML 9J= FGL DAEAL=< LG  L@=

    LJ9FKEAKKAGF <=DAN=JQ 9F<K@AHE=FLG><=;=HLAN=E9JC=LAF?E9L=JA9DK9F<9A<AF?9F<9:=LLAF?L@=

    EAKD=9<AF?G>J=?MD9LGJK9F<L@=HM:DA;9KLG+MJ<M=\K;GEHDA9F;=OAL@KL9L=9F<>=<=J9DJ=HGJLAF?

                                                       

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 43 of 54 PageID #: 43




    G:DA?9LAGFK .M;@E9L=JA9DKOGMD<FGL@9N=:==F<=DAN=J=< GJ<=JK>GJGHAGA<KOGMD<FGL@9N=:==F

    >ADD=< 9F<J=?MD9LGJKOGMD<@9N=FGL:==FEAKD=<:ML>GJ(;&AFK=Q\KADD=?9DK;@=E= AF;DM<AF?

              9 >9DK=GJEAKD=9<AF?;GEEMFA;9LAGFKLGL@=HM:DA;9F<LGJ=?MD9LGJK

              : >9ADAF?LGJ=HGJLKMKHA;AGMKGJ<=JK9KJ=IMAJ=<:QKL9L=9F<>=<=J9DD9O

              ; K9D=K 9F< E9JC=LAF? E9L=JA9DK  AF;DM<AF? KDA<= <=;CK  HJ=K=FL9LAGF E9L=JA9DK  HMJHGJL=<
                  ?MA<=DAF=K  9<N=JLAKAF?  O=: KAL=K  HJG<M;L H9;C9?AF?  :JG;@MJ=K  D9:=DAF? 9F< GL@=J
                  OJALAF?KO@A;@EAKJ=HJ=K=FL=< >9DK=DQHJGEGL=<9F<;GF;=9D=<L@=LJM=F9LMJ=G>GHAGA<K

              < <G;ME=FLKAFL=F<=<LG>9;ADAL9L=L@=E9FM>9;LMJ=9F<K9D=G>GHAGA<K AF;DM<AF?J=HGJLK9F<
                  ;GJJ=KHGF<=F;=9F<

              = GL@=J<G;ME=FLK9F<L@AF?K AF;DM<AF?=D=;LJGFA;;GEEMFA;9LAGFK 

               (;&AFK=Q9DKGMK=<L@=$FL=JF=L9F<GL@=J=D=;LJGFA;>9;ADALA=KLG;9JJQGMLL@=K;@=E=9F<

    ;GF;=9DL@=GF?GAF?>J9M<MD=FL9;LANALA=K !GJ=P9EHD= +MJ<M=E9<=EAKJ=HJ=K=FL9LAGFK9:GMLGHAGA<K

    GFALKO=:KAL=K 4GM/M:= 9F<L@JGM?@GFDAF=9<K<=KA?F=<:Q CFGOFLG GJ9HHJGN=<:Q(;&AFK=Q

    9F<AFL=F<=<LGEAKD=9<HJ=K;JA:=JK9F<L@=HM:DA;9:GMLL@=K9>=LQ =>>A;9;Q 9F<FGF 9<<A;LAN=F=KKG>

    GHAGA<K 

               (;&AFK=Q 9DKG ;GEEMFA;9L=< :Q 0 .  E9AD  :Q AFL=JKL9L= >9;KAEAD=  9F< :Q AFL=JKL9L=

    =D=;LJGFA;E9ADOAL@N9JAGMKJ=?AGF9DG>>A;=K <ANAKAGFK +MJ<M= 9F<L@=.9;CD=JKAF>MJL@=J9F;=G>L@=

    K;@=E= /@=E9AD9F<OAJ=LJ9FKEAKKAGFK<=K;JA:=<AFL@AKGEHD9AFLO=J=E9<=AF>MJL@=J9F;=G>

    (;&AFK=Q\KK;@=E=9F<;GEEGF;GMJK=G>;GF<M;L>GJ+MJ<M= L@=.9;CD=JK -@G<=K9F<GL@=JKLG

    <=;=AN=HJ=K;JA:=JK ;GFKME=JK 9F<J=?MD9LGJK GN=JKMHHDQL@=E9JC=L 9F<>9ADLGJ=HGJLKMKHA;AGMK

    K9D=K 

               (9FQ G> L@= HJ=;AK= <9L=K G> L@= >J9M<MD=FL MK=K G> L@= 0 .  E9AD 9F< AFL=JKL9L= OAJ=

    >9;ADALA=K9J=;GF;=9D=<>JGE+D9AFLA>>K 9F<L@=Q;9FFGL:=9DD=?=<OAL@GML9;;=KKLG(;&AFK=Q\KGJ

    +MJ<M=\K:GGCK9F<J=;GJ<K #GO=N=J +D9AFLA>>K@9N=<=K;JA:=<L@=LQH=KG>HJ=<A;9L=9;LKG>E9AD

    9F< GJOAJ=>J9M<L@9LG;;MJJ=< 9F<+D9AFLA>>K@9N=A<=FLA>A=<AFL@AKGEHD9AFLHD9FK:QE9F9?=E=FL

    H=JKGFF=DG>(;&AFK=QLG<=KLJGQ<G;ME=FLK9F<=E9ADK +D9AFLA>>K@9N=9DKGD=9JF=<L@9L(;&AFK=Q
                                                        

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 44 of 54 PageID #: 44




    AFL=JF9D<G;ME=FLK9J=LG:=E9<=HM:DA;MF<=JJ=;=FL;GFK=FLBM<?E=FLK /@=K=;J=LAN=F9LMJ=G>L@=

    *HAGA< FL=JHJAK=\K 9;LANALA=K E9<= L@= MFD9O>MD L9;LA;K <AK;MKK=< AF L@AK GEHD9AFL =N=F EGJ=

    <=;=HLAN=9F<@9JE>MD 

               /@= >GJ=?GAF? 9DD=?9LAGFK KMHHGJL L@9L 9 (;&AFK=Q =F?9?=< AF 9 H9LL=JF G>

    J9;C=L==JAF?9;LANALQ:QJ=H=9L=<DQ=F?9?AF?AFOAJ=9F<E9AD>J9M<LG<=;=HLAN=DQE9JC=L+MJ<M=\K

    GHAGA<HJG<M;LKL@JGM?@L@=MK=G>:GL@HJAFL9F<=D=;LJGFA;GMLD=LK9F<:(;&AFK=Q<=KA?F=<9F<

    =F9:D=<+MJ<M=LG=F?9?=AF9H9LL=JFG>J9;C=L==JAF?9;LANALQ:QJ=H=9L=<DQ=F?9?AF?AFOAJ=9F<

    E9AD>J9M<LG<=;=AN=J=?MD9LGJK9F<GN=JKMHHDQL@=E9JC=LO@AD=>9ADAF?LGJ=HGJLKMKHA;AGMKK9D=K 

               1052,4$&:

              (;&AFK=QMF<=JLGGCL@=HJ9;LA;=K<=K;JA:=<@=J=AFFGLE=J=DQAFH9J9DD=D OAL@+MJ<M= 

    :ML J9L@=J 9KH9JLG>9;GEEGFK;@=E=9F<;GFKHAJ9;Q $FNAGD9LAGFG>0 .  T< (;&AFK=Q

    ;GFKHAJ=<LGNAGD9L=0 .  T; 9K<=K;JA:=<AFL@AKGEHD9AFL 

              (;&AFK=Q;GFKHAJ=<OAL@+MJ<M= -@G<=K9F<L@=.9;CD=JKLGAF;=FLANAR=9F<=F;GMJ9?=

    N9JAGMKGL@=JH=JKGFK >AJEK9F<;GJHGJ9LAGFK AF;DM<AF?L@AJ< H9JLQ=FLALA=K9F<AF<ANA<M9DKFGLF9E=<

    9K<=>=F<9FLKAFL@AKGEHD9AFL LG;9JJQGMLG>>=FK=K9F<GL@=J9;LKAF>MJL@=J9F;=G>L@=;GFKHAJ9;Q 

    (;&AFK=Q;GFKHAJ=<LGAF;J=9K=GJE9AFL9AFJ=N=FM=K AF;J=9K=E9JC=LK@9J= 9F< GJEAFAEAR=DGKK=K

    >GJ+MJ<M=9F<L@=AJGL@=J;GDD9:GJ9LGJKL@JGM?@GMLL@=ADD=?9DK;@=E=9F<;GEEGF;GMJK=G>;GF<M;L 

    /G9;@A=N=L@AK?G9D (;&AFK=Q=F?9?=<AFL@=9>GJ=E=FLAGF=<HJ=<A;9L=9;LKGFFME=JGMKG;;9KAGFK 

    (;&AFK=Q  OAL@ CFGOD=<?= 9F< AFL=FL  9?J==< LG L@= GN=J9DD G:B=;LAN=K G> L@= ;GFKHAJ9;Q 9F<

    H9JLA;AH9L=<AFL@=;GEEGF;GMJK=G>;GF<M;LLG;GEEAL9;LKG><=;=HLAN=DQE9JC=LAF? HJGEGLAF? 

    <AKLJA:MLAF? 9F<K=DDAF?GHAGA<KL@JGM?@E9AD9F<OAJ=K 

              $F<==<  >GJ L@= ;GFKHAJ9;Q LG KM;;==<  (;&AFK=Q  -@G<=K 9F< +MJ<M= 9?J==< LG

    <=;=HLAN=DQE9JC=L K=DD 9F< GJ<AKLJA:ML=GHAGA<KO@AD=>9ADAF?LGJ=HGJLKMKHA;AGMKK9D=K (;&AFK=Q\K

    E9JC=LAF?L9;LA;K9F<+MJ<M=\KGJ;@=KLJ9L=<>9ADMJ=LGJ=HGJLKMKHA;AGMKK9D=K?9N=;J=<=F;=LGL@=AJ

                                                   

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 45 of 54 PageID #: 45




    EAKD=9<AF?KL9L=E=FLK9F<GEAKKAGFKLGHJ=K;JA:=JK ;GFKME=JK 9F<J=?MD9LGJK 9F<<AJ=;LDQ;9MK=<

    GHAGA<KLGAFMF<9L=L@=E9JC=LF9LAGFOA<= 

              (;&AFK=Q CF=O 9F< AFL=F<=< L@9L ?GN=JFE=FL J=?MD9LGJK  HJ=K;JA:=JK  ;GFKME=JK  9F<

    ?GN=JFE=FL9D=FLALA=KOGMD<J=DQGFL@=;GDD=;LAN=E9L=JA9DEAKJ=HJ=K=FL9LAGFK9F<GEAKKAGFK;J9>L=<

    :QAL9F<L@=GL@=J*HAGA< FL=JHJAK=E=E:=JK9:GMLGHAGA<K9F<KMKHA;AGMKK9D=K (;&AFK=QCF=O

    9F<J=;CD=KKDQ<AKJ=?9J<=<L@=;GKLL@9LOGMD<:=KM>>=J=<:QL@=HM:DA; 

              (;&AFK=Q9DKGCF=OL@9L:Q+MJ<M=>ADDAF? 9F<>9ADAF?LGJ=HGJL KMKHA;AGMKK9D=K ALOGMD<

    KA?FA>A;9FLDQAF;J=9K=+MJ<M=\KK9D=K9F<HJG>ALK 

              /@=>GJ=?GAF?ADDMKLJ9L=K(;&AFK=Q\KDA9:ADALQMF<=J0 .  T< :Q=F?9?AF?AF

    L@=AJH9LL=JFG>J9;C=L==JAF?9F<;GFKHAJAF?LG9;@A=N=L@=AJ;GEEGF?G9DG>=P;=KKAN=9F<MFD9O>MD

    GHAGA<K9D=K 

                K<=K;JA:=<@=J=AF (;&AFK=Q=F?9?=<AF9H9LL=JFG>J=D9L=<9F<;GFLAFMGMKHJ=<A;9L=

    9;LK>GJQ=9JK /@=HJ=<A;9L=9;LK;GFKLALML=<9N9JA=LQG>MFD9O>MD9;LANALA=K =9;@;GF<M;L=<OAL@L@=

    ;GEEGFHMJHGK=G>G:L9AFAF?KA?FA>A;9FLEGFA=K9F<J=N=FM=K>JGE;GFKME=JK :9K=<GF(;&AFK=Q\K

    EAKJ=HJ=K=FL9LAGFK9F<GEAKKAGFK /@=HJ=<A;9L=9;LK9DKG@9<L@=K9E=GJKAEAD9JJ=KMDLK H9JLA;AH9FLK 

    NA;LAEK 9F< E=L@G<K G> ;GEEAKKAGF  /@= HJ=<A;9L= 9;LK O=J= J=D9L=< 9F< FGL AKGD9L=< =N=FLK  /@=

    HJ=<A;9L=9;LK9DD@9<L@=HMJHGK=G>?=F=J9LAF?KA?FA>A;9FLJ=N=FM=9F<HJG>ALK>GJ+MJ<M=9F<-@G<=K 

    9F< L@JGM?@ L@=E  L@= .9;CD=JK  /@= HJ=<A;9L= 9;LK O=J= ;GEEALL=< GJ ;9MK=< LG := ;GEEALL=< :Q

    (;&AFK=Q +MJ<M= -@G<=K L@=.9;CD=JK9F<GL@=JKL@JGM?@L@=AJH9JLA;AH9LAGFAFL@=*HAGA< FL=JHJAK=

    9F<AF>MJL@=J9F;=G>L@=K;@=E= 

               +D9AFLA>>KO=J=<AJ=;LDQ9F<HJGPAE9L=DQAFBMJ=<:Q(;&AFK=Q\KJ9;C=L==JAF?9;LANALQ ML

    >GJ(;&AFK=Q\KEAK;GF<M;L EAKD=9<AF?9F<>9DK=E9JC=LAF? EAKKL9L=E=FLK9F<GEAKKAGFKX9F<L@=

    K;@=E==EHDGQ=<:QL@=*HAGA< FL=JHJAK=X+D9AFLA>>KOGMD<FGL@9N=:==F>GJ;=<LG:=9JL@=;GKLK

    G>L@=;MJJ=FLGHAGA<=HA<=EA;9K9DD=?=<AFL@AKGEHD9AFL 

                                                    

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 46 of 54 PageID #: 46




                (;&AFK=Q\K NAGD9LAGFK G>  0 .   T; < @9N= <AJ=;LDQ 9F< HJGPAE9L=DQ

    ;9MK=<AFBMJA=K9F<<9E9?=KLG+D9AFLA>>K9K9DD=?=<AFL@AKGEHD9AFL 9F<+D9AFLA>>K:JAF?L@AK9;LAGF

    AF 9;;GJ<9F;= OAL@  0 .   T; >GJ L@J== LAE=K L@=AJ 9;LM9D <9E9?=K  9K O=DD 9K

    AFBMF;LAN= =IMAL9:D=J=DA=> ;GKLK9F<J=9KGF9:D=9LLGJF=QK\>==K 9F<HJ= 9F<HGKL BM<?E=FLAFL=J=KL 

                                         
                                              

               +D9AFLA>>KJ= 9DD=?=9F<AF;GJHGJ9L=:QJ=>=J=F;==9;@9F<=N=JQ9DD=?9LAGF;GFL9AF=<AF

    9DDHJ=;=<AF?9F<KM:K=IM=FLH9J9?J9H@K:QJ=>=J=F;= 

               GMFL$$AK:JGM?@L:Q+D9AFLA>>KGF:=@9D>G>L@=EK=DN=K 

               (;&AFK=Q\KMFD9O>MD9;LAGFK@9N=;J=9L=<9HM:DA;FMAK9F;=MF<=JL@=D9OKG>&=FLM;CQ 

               (;&AFK=Q;GFKHAJ=<OAL@9F<9A<=<9F<9:=LL=<+MJ<M= -@G<=K9F<L@=.9;CD=JKAFL@=

    E9JC=LAF?  HJGEGLAF?  <AKLJA:MLAF? 9F< K=DDAF? G> GHAGA<K 9K 9>GJ=K9A< 9F< L@=J=:Q ;9MK=< L@=

    OA<=KHJ=9< <AKLJA:MLAGF G> HJ=K;JAHLAGF GHAGA<K L@JGM?@GML L@= 0FAL=< .L9L=K 9F<  KH=;A>A;9DDQ 

    L@JGM?@GML&=FLM;CQJ=KMDLAF?AFGHAGA<9<<A;LAGF9F<9:MK= 

               (;&AFK=Q\K ;GF<M;L =F9:D=< L@= 9DD=?=< ;GF<M;L AF MFD9O>MDDQ E9JC=LAF?  HJGEGLAF? 

    <AKLJA:MLAF?  9F< K=DDAF? =P;=KKAN= 9EGMFLK G> HJ=K;JAHLAGF GHAGA<K  9F< ;9MKAF? KM;@ GHAGA<K LG :=

    <AKLJA:ML=<9F<KGD<>GJAEHJGH=JHMJHGK=K O@=F(;&AFK=QCF=O GJJ=9KGF9:DQK@GMD<@9N=CFGOF 

    L@9LGHAGA<KOGMD<:=MK=< HGKK=KK=< 9F< GJ<AN=JL=<MFD9O>MDDQF9LAGFOA<= AF;DM<AF?AF9F<9JGMF<

    +D9AFLA>>K\;GMFLA=K9F<;ALA=KAF&=FLM;CQ 

               (;&AFK=QCF=OL@9L+MJ<M=@9<HD=<?MADLQLG>=<=J9D;JAE=K9F<=FL=J=<AFLG9GJHGJ9L=

    $FL=?JALQ ?J==E=FL L@9L O9K AFL=F<=< LG 9NGA< 9F< LG J=<M;= L@= HGL=FLA9D >GJ L@= CAF< G> HM:DA;

    FMAK9F;= NAKAL=< MHGF ;GEEMFALA=K AF &=FLM;CQ 9F< 9;JGKK L@= 0FAL=< .L9L=K  9F< LG HJ=N=FL ALK

    AEHGKALAGFMHGFHM:DA;=FLALA=KKM;@9K+D9AFLA>>K =KHAL=L@AK (;&AFK=Q=F?9?=<AF;GFKHAJAF?OAL@

    9F<9A<AF?9F<9:=LLAF?L@=E9JC=LAF? HJGEGLAF? <AKLJA:MLAF? 9F<K=DDAF?G>HJ=K;JAHLAGFGHAGA<K9K

  9DD=?=<AFL@AKGEHD9AFL (;&AFK=QCF=O GJJ=9KGF9:DQK@GMD<@9N=CFGOF L@9LALK9;LAGFK;J=9L=<
                                             

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 47 of 54 PageID #: 47




    9 KLJGF? DAC=DA@GG< L@9L L@=K= ADD=?9D <AKLJA:MLAGFK G> =P;=KKAN= 9EGMFLK G> GHAGA<K OGMD< ;9MK=

    OA<=KHJ=9<GHAGA<9<<A;LAGF9F<GN=J MK=9EGF?J=KA<=FLKG>;GEEMFALA=K9F<AFL=J>=J=OAL@HM:DA;

    @=9DL@ K9>=LQ 9F<O=D>9J=G>KM;@;GEEMFALA=K AF;DM<AF?L@GK=K=JN=<:QL@=DG;9D?GN=JFE=FLKG>

    +D9AFLA>>K 

               (;&AFK=QCF=O GJJ=9KGF9:DQK@GMD<@9N=CFGOF L@9L+MJ<M= -@G<=K9F<L@=.9;CD=JK

    OGMD<9F<<A<<AKLJA:ML=GHAGA<K 9F<;9MK=<GHAGA<KLG:=<AKLJA:ML=< OAL@GMLE9AFL9AFAF?=>>=;LAN=

    ;GFLJGDK 9?9AFKL <AN=JKAGF  AF;DM<AF? EGFALGJAF?  J=HGJLAF?  9F< J=>MKAF? K@AHE=FL G> KMKHA;AGMK

    GJ<=JK 9F<OGMD<;9MK=OA<=KHJ=9<GHAGA<9<<A;LAGF9F<GN=J MK=9EGF?J=KA<=FLKG>;GEEMFALA=K

    9F<AFL=J>=J=OAL@HM:DA;@=9DL@ K9>=LQ 9F<O=D>9J= G>KM;@;GEEMFALA=KAF;DM<AF?L@GK=K=JN=<:Q

    +D9AFLA>>K\DG;9D?GN=JFE=FLK 

              K9<AJ=;LJ=KMDLG>(;&AFK=Q\K;GF<M;L +D9AFLA>>K@9N=KM>>=J=<<9E9?=K AF;DM<AF? 

    :MLFGLDAEAL=<LG =PH=F<ALMJ=KLGHJGNA<=9<<ALAGF9DK=JNA;=K9F<GL@=JKMHHGJLK9F<K=JNA;=K:=;9MK=

    G>AFBMJA=K9F<<9E9?=K9>L=JL@=AJJ=KA<=FLK\<9E9?AF?=PHGKMJ=LGGHAGA<K9F<<AJ=;L;GKLKLG+D9AFLA>>K

    >GJ@=9DL@;9J= <AK9:ADALQ:=F=>ALK9F<OGJC=JK\;GEH=FK9LAGF 

              /@MK (;&AFK=Q\K;GF<M;L;GFLJA:ML=<LG;9MKAF?9HM:DA;FMAK9F;=OAL@=>>=;LKL@9L9J=

    ;GFLAFMAF?9F< A>MF9:9L=< OADD;GFLAFM=LGL@J=9L=FL@=@=9DL@ K9>=LQ 9F<O=D>9J=G>L@=J=KA<=FLK 

    ;ALAR=FK  9F< L9PH9Q=JK G> L@= ;GMFLA=K 9F< ;ALA=K G> L@= +D9AFLA>>K  9F< +D9AFLA>>K @9N= 9 ;D=9JDQ

    9K;=JL9AF9:D=JA?@LLG9:9L=L@AKFMAK9F;=9F<ALK=>>=;LK9F<K==CJ=DA=>AFL@AKGEHD9AFL>JGEL@=

    =>>=;LKG>K9A<FMAK9F;= 

                                          
                                                 
                                         ,1.$6,101)6$67614:76,(5

                 +D9AFLA>>K AF;GJHGJ9L=K L@= 9DD=?9LAGFK OAL@AF 9DD HJAGJ H9J9?J9H@K OAL@AF L@AK

    GEHD9AFL9KA>L@=QO=J=>MDDQK=L>GJL@@=J=AF 

                 GMFL$$$AK:JGM?@L:Q+D9AFLA>>KGF:=@9D>G>L@=EK=DN=K 

                                                       

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 48 of 54 PageID #: 48




              -=9KGF9:DQ HJM<=FL HJ=K;JAHLAGF GHAGA< E9FM>9;LMJ=JK  9F< ;GEH9FA=K OGJCAF? OAL@

    L@=E  9K (;&AFK=Q O9K OAL@ +MJ<M=  L@9L @9< 9;;=HL=< L@= J=KHGFKA:ADALA=K LG HD9F 9F< AEHD=E=FL

    E9JC=LAF?  HJGEGLAF?  <AKLJA:MLAF? 9F< K9D=K HJG?J9EK OGMD< FGL @9N= EAKJ=HJ=K=FL=< L@= JAKCK G>

    HJ=K;JAHLAGF GHAGA<K  FGJ GN=JKL9L=< L@=AJ :=F=>ALK 9F< OGMD< @9N= AEHD=E=FL=< :9KA; ;GFLJGDKX

    J=IMAJ=<MF<=J>=<=J9DD9OXLGHJ=N=FLGHAGA<<AN=JKAGFAFL@=KMHHDQ;@9AF 

              $FKL=9<  (;&AFK=Q HD9FF=< 9F< AEHD=E=FL=< +MJ<M= 9F< -@G<=K HJG?J9EK >GJ L@=

    E9JC=LAF?  HJGEGLAGF  <AKLJA:MLAF? 9F< K=DDAF? G> GHAGA<K L@9L =F9:D=< +MJ<M= 9F< -@G<=K LG

    KQKL=E9LA;9DDQNAGD9L=KL9LMLGJQ<MLA=KJ=D9L=<LGE9JC=LAF?GHAGA<K /@=K=<MLA=KJ=IMAJ=<+MJ<M=9F<

    -@G<=K LG E9AFL9AF =>>=;LAN= ;GFLJGDK 9?9AFKL L@= <AN=JKAGF G> L@=AJ <JM?K  LG <=KA?F 9F< GH=J9L= 9

    KQKL=ELGA<=FLA>QKMKHA;AGMKGJ<=JKG>L@=AJ<JM?K LG@9DLMFD9O>MDK9D=KG>KMKHA;AGMKGJ<=JK 9F<LG

    FGLA>QL@= G>KMKHA;AGMKGJ<=JK (;&AFK=QL@MK=F9:D=<+MJ<M=\K9F<-@G<=K\>9ADMJ=LGE==LL@=

    KL9F<9J<G>;9J==KL9:DAK@=<:QKL9LML=:QHJGEGLAF?L@=>DGOG>=P;=KKAN=IM9FLALA=KG>HJ=K;JAHLAGF

    GHAGA<K AFLG L@= ;GEEMFALA=K AF O@A;@ +D9AFLA>>K HJGNA<= ?GN=JFE=FL K=JNA;=K LG L@= J=KA<=FLK G>

    &=FLM;CQ9F<=EHDGQJ=KA<=FLKG>&=FLM;CQ .== = ? L@=GFLJGDD=<.M:KL9F;=K;L 0 .  T

     =LK=I ! - T  : 

              N=JQ J=?AKLJ9FLXAF;DM<AF? +MJ<M= 9F< -@G<=KXAK ;@9J?=< OAL@ :=AF? NA?AD9FL AF

    <=;A<AF?O@=L@=J9;MKLGE=J :=AL9H@9JE9;Q O@GD=K9D=J GJ=F<;MKLGE=J ;9F:=LJMKL=<LG<=DAN=J

    GJMK=;GFLJGDD=<HJ=K;JAHLAGFF9J;GLA;KGFDQ>GJD9O>MDHMJHGK=K .H=;A>A;9DDQ <JM?E9FM>9;LMJ=JK9F<

    <AKLJA:MLGJK 9J= J=IMAJ=< LG E9AFL9AF Y=>>=;LAN= ;GFLJGD 9?9AFKL <AN=JKAGF G> H9JLA;MD9J ;GFLJGDD=<

    KM:KL9F;=KAFLGGL@=JL@9FD=?ALAE9L=E=<A;9D K;A=FLA>A; 9F<AF<MKLJA9D;@9FF=DK Z

              (;&AFK=Q AFL@=O9QK9DD=?=<9:GN= =F9:D=<+MJ<M=9F<-@G<=KLG:J=9;@ALK<MLA=KLG

    =P=J;AK= <M= ;9J= AF L@= :MKAF=KK G> E9FM>9;LMJAF?  E9JC=LAF?  9F< O@GD=K9D= <AKLJA:MLAGF G>

    HJ=K;JAHLAGFGHAGA<K AF;DM<AF?:Q>ADDAF?MFJ=9KGF9:DQKMKH=;LGJ<=JKGN=J9F<GN=J9?9AF OAL@GML

    AEHGKAF? HJGH=J ;GFLJGDK LG EGFALGJ  A<=FLA>Q  AFN=KLA?9L=  DAEAL  9F< J=HGJL KMKHA;AGMK GJ<=JK >GJ

                                                      

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 49 of 54 PageID #: 49




    GHAGA<K  /@= N=JQ HMJHGK= G> L@=K= <MLA=K O9K LG HJ=N=FL L@= @9JEK L@9L @9N= <AJ=;LDQ >GDDGO=<

    <AN=JKAGFG>@A?@DQ9<<A;LAN=<JM?K>GJADD=?9D9F< GJFGF 9HHJGN=<HMJHGK=K /@MK L@=(;&AFK=Q

    <=KA?F=< 9F< AEHD=E=FL=< E9JC=LAF?  HJGEGLAGF  <AKLJA:MLAGF  9F< K9D=K KLJ9L=?A=K =F9:D=< +MJ<M=

    9F<-@G<=KLG9;;GEHDAK@L@GK=NAGD9LAGFK9F<;9MK=<L@==FKMAF?@9JE

              ;;GJ<AF?DQ (;&AFK=Q=F9:D=<+MJ<M=9F<-@G<=KLG:J=9;@ALKKL9LMLGJQ9F<J=?MD9LGJQ

    =KL9:DAK@=<<MLA=KG>;9J=L@9LO=J=<=KA?F=<KH=;A>A;9DDQLGHJ=N=FLL@=@9JEK>JGEL@=GN=JMK= 9:MK=

    9F< EAKMK= G> ;GFLJGDD=< KM:KL9F;=K  AF;DM<AF? GHAGA<K  :Q =F?9?AF? AF F=?DA?=F;=  >9ADAF? LG MK=

    J=9KGF9:D=;9J= LGL@=KA?FA>A;9FL@9JEG>+D9AFLA>>K9K9>GJ=K9A< 9F< (;&AFK=QO9KJ=;CD=KK9F<

    9;L=<OAL@;GFK;AGMKAF<A>>=J=F;=LGL@=;GFK=IM=F;=KG>ALK9;LAGFK9F<AF9;LAGFK9K9DD=?=<@=J=AF 

                 +D9AFLA>>KK==C9DDD=?9D9F<=IMAL9:D=J=DA=>9K9DDGO=<:QD9O AF;DM<AF? AFL=J9DA9

    ;GEH=FK9LGJQ9F<HMFALAN=<9E9?=K ;GKLK 9F<HJ= 9F<HGKL BM<?E=FLAFL=J=KL 


                                        
                                                 
                  +D9AFLA>>K AF;GJHGJ9L= L@= 9DD=?9LAGFK OAL@AF 9DD HJAGJ H9J9?J9H@K OAL@AF L@AK

    GEHD9AFL9KA>L@=QO=J=>MDDQK=L>GJL@@=J=AF 

                 GMFL$1AK:JGM?@L:Q+D9AFLA>>KGF:=@9D>G>L@=EK=DN=K 

              (;&AFK=Q@9<9<MLQLG=P=J;AK=J=9KGF9:D=;9J=OAL@J=?9J<LGL@=E9JC=LAF? HJGEGLAGF 

    <AKLJA:MLAGF9F<K9D=G>GHAGA<KE9FM>9;LMJ=<:Q+MJ<M=9F<-@G<=KL@9LO=J=E9JC=L=< HJGEGL=< 

    <AKLJA:ML=<9F<KGD<HMJKM9FLLG(;&AFK=Q\KHD9FK9F<L@=AEHD=E=FL9LAGFG>L@GK=HD9FK9KH9JLG>ALK

    GF?GAF?J=D9LAGFK@AHOAL@+MJ<M=9K9DD=?=<9:GN= 

              (;&AFK=Q:J=9;@=<L@9L<MLQLG=P=J;AK=J=9KGF9:D=;9J=:QL@=;GF<M;L9DD=?=<AFL@AK

    GEHD9AFL 

              (;&AFK=Q\K;GF<M;LAF:J=9;@G>ALK<MLQ;9MK=<DGKK9F<<9E9?=LG+D9AFLA>>K9DD=?=<AF

    L@AKGEHD9AFL 


                                                     

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      Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 50 of 54 PageID #: 50




            (;&AFK=Q\K ;GF<M;L 9K 9DD=?=< O9K J=;CD=KK 9F< ;GFK;AGMKDQ AF<A>>=J=FL LG L@=

  ;GFK=IM=F;=KG>ALK9;LAGFK9F<AF9;LAGFK9F<;9MK=<DGKK9F<<9E9?=LG+D9AFLA>>K9K9DD=?=<9:GN= 

             +D9AFLA>>KK==C9DDD=?9D9F<=IMAL9:D=J=DA=>9K9DDGO=<:QD9O AF;DM<AF? AFL=J9DA9

  ;GEH=FK9LGJQ9F<HMFALAN=<9E9?=K ;GKLK 9F<HJ= 9F<HGKL BM<?E=FLAFL=J=KL 


                                     
                                    $,.74(61 $40

                               
               +D9AFLA>>K AF;GJHGJ9L= L@= 9DD=?9LAGFK OAL@AF 9DD HJAGJ H9J9?J9H@K OAL@AF L@AK

  GEHD9AFL9KA>L@=QO=J=>MDDQK=L>GJL@@=J=AF 

               GMFL1AK:JGM?@L:Q+D9AFLA>>KGF:=@9D>G>L@=EK=DN=K9?9AFKL(;&AFK=Q 

               (;&AFK=Q @9< 9 <MLQ LG =P=J;AK= J=9KGF9:D= ;9J= AF L@= E9JC=LAF?  HJGEGLAGF 

  <AKLJA:MLAGF9F<K9D=G>GHAGA<KE9FM>9;LMJ=<:Q+MJ<M=9F<-@G<=KL@9LO=J=E9JC=L=< HJGEGL=< 

  <AKLJA:ML=<9F<KGD<HMJKM9FLLG(;&AFK=Q\KHD9FK9F<L@=AEHD=E=FL9LAGFG>L@GK=HD9FK9KH9JLG>ALK

  GF?GAF?J=D9LAGFK@AHOAL@+MJ<M=9K9DD=?=<9:GN= 9F<L@9L<MLQLG=P=J;AK=J=9KGF9:D=;9J=AF;DM<=<

  L@=<MLQLGO9JF9<=IM9L=DQG>L@=HGL=FLA9D<9F?=JK9KKG;A9L=<OAL@L@=MK=G>+MJ<M=\K9F<-@G<=K\

  GHAGA<K9K9DD=?=<9:GN= 

                (;&AFK=QCF=O GJAFL@==P=J;AK=G>J=9KGF9:D=;9J=K@GMD<@9N=CFGOF L@9LGHAGA<K

  O=J=@A?@DQ9<<A;LAN=9F<AF9HHJGHJA9L=9F<MFK9>=>GJL@=LJ=9LE=FLG>;@JGFA;H9AF 9F<(;&AFK=Q

  CF=O GJAFL@==P=J;AK=G>J=9KGF9:D=;9J= K@GMD<@9N=CFGOF L@=<9F?=JK9KKG;A9L=<OAL@L@=MK=G>

  +MJ<M=\K9F<-@G<=K\GHAGA<K9K9DD=?=<9:GN= 

               (;&AFK=Q>MJL@=JCF=O GJAFL@==P=J;AK=G>J=9KGF9:D=;9J=K@GMD<@9N=CFGOF L@9L

  OA<=KHJ=9<GHAGA<9<<A;LAGF9F<9:MK=O=J=@9JE>MDLGE=F9F<OGE=F AF;DM<AF?HJ=?F9FLOGE=F 

  ;GFKMEAF?GHAGA<K L@=AJ;@AD<J=F L@=AJ>JA=F<K >9EADA=K 9F<;GEEMFALA=K 9F<L@GK= DAC=+D9AFLA>>K 

  J=KHGFKA:D=>GJH9QAF?>GJ?GN=JFE=FLK=JNA;=K 9KKH=;A>A=<9:GN= >GJL@GK==PHGK=<LGGHAGA<K 9K

  O=DD9K>GJ@=9DL@;9J=;GKLK9KKG;A9L=<OAL@GHAGA<9<<A;LAGF9F<9:MK=9EGF?L@=AJAFKMJ=<K 
                                                

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 51 of 54 PageID #: 51




                 )GF=L@=D=KK  (;&AFK=Q MFJ=9KGF9:DQ H=JKAKL=< AF KHJ=9<AF? EAKAF>GJE9LAGF 9F<

    :MJQAF?L@=LJML@9:GMLL@=K9>=LQ9F<=>>A;9;QG>GHAGA<K 9F<(;&AFK=Q:J=9;@=<ALK<MLQ9F<>9AD=<

    LGL9C=J=9KGF9:D=HJ=;9MLAGFKLGO9JFG>L@=<9F?=JKG>GHAGA<KAFHJ=K=FLAF?GHAGA<KLGL@=HM:DA;AF

    ;GFBMF;LAGFOAL@+MJ<M=9F<-@G<=K 9F<>MJL@=J (;&AFK=QO9KJ=;CD=KK9F<;GFK;AGMKDQAF<A>>=J=FL

    LGL@=;GFK=IM=F;=KG>ALK9;LAGFK9F<AF9;LAGFK 

                 Q>9ADAF?LG9<=IM9L=DQO9JFL@=HM:DA; AF;DM<AF?HJ=K;JA:AF?<G;LGJK9F<+D9AFLA>>K 

    G> L@= <9F?=JK G> GHAGA<K  (;&AFK=Q\K ;GF<M;L <AJ=;LDQ AFBMJ=< +D9AFLA>>K  =;9MK= G> (;&AFK=Q\K

    EAKAF>GJE9LAGF;9EH9A?F 9F<>9ADMJ=LGO9JF +D9AFLA>>K:=;9E=G:DA?9L=<9F<@9KH9A<>GJ>MJL@=J9F<

    9<<ALAGF9D?GN=JFE=FL9DK=JNA;=K>GJJ=KA<=FLK=PHGK=<LGGHAGA<K OADD<GKGAFL@=>MLMJ= 9F<H9A<

    >GJGJGL@=JOAK=J=AE:MJK=<L@=;GKLG>MFF=;=KK9JQ9F< GJAF9HHJGHJA9L=GHAGA<HJ=K;JAHLAGFK 9KO=DD

    9KL@=@=9DL@;9J=;GKLK9KKG;A9L=< <AK9:ADALQ:=F=>ALK9F<OGJC=JK\;GEH=FK9LAGF 

                 K9;GFK=IM=F;=G>(;&AFK=Q\K:J=9;@G>ALK<MLQLGO9JF O@A;@O9K9;GFLAFMAF?

    <MLQ +D9AFLA>>K@9N=KM>>=J=<<9E9?=K9F<OADD;GFLAFM=LGKM>>=J<9E9?=K9K9DD=?=<9:GN= 

                 +D9AFLA>>KK==C9DDD=?9D9F<=IMAL9:D=J=DA=>9K9DDGO=<:QD9O AF;DM<AF? AFL=J9DA9

    ;GEH=FK9LGJQ9F<HMFALAN=<9E9?=K ;GKLK 9F<HJ= 9F<HGKL BM<?E=FLAFL=J=KL 


                                       !  
                                               "

                 +D9AFLA>>K AF;GJHGJ9L= L@= 9DD=?9LAGFK OAL@AF 9DD HJAGJ H9J9?J9H@K OAL@AF L@AK

    GEHD9AFL9KA>L@=QO=J=>MDDQK=L>GJL@@=J=AF 

                 GMFL1$AK:JGM?@L:Q+D9AFLA>>KGF:=@9D>G>L@=EK=DN=K 

                 K <=K;JA:=< 9:GN=  (;&AFK=Q AFL=FLAGF9DDQ ;GFLJA:ML=< LG L@= HJ=K;JAHLAGF <JM?

    9:MK==HA<=EA;AF+D9AFLA>>K\GMFLA=KL@JGM?@GMLL@==FLAJ=.L9L=G>&=FLM;CQL@JGM?@J=H=9L=<

    AFL=FLAGF9D9;LAGFKL@9LNAGD9L=<L@=&=FLM;CQ-=NAK=<.L9LML=K@9HL=JY&-.Z9F<



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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 52 of 54 PageID #: 52




    L@JGM?@ J=;CD=KK <AKJ=?9J< >GJ L@= K9>=LQ 9F< O=DD :=AF? G> L@= ;ALAR=FK G>  +D9AFLA>>K\ GMFLA=K 

    AF;DM<AF?

             9 (;&AFK=Q;GFKHAJ=<OAL@+MJ<M=9F<-@G<=KLGAFL=FLAGF9DDQ9F<AEHJGH=JDQ<AKLJA:ML=
                 HJ=K;JAHLAGF<JM?K;GFLJ9JQLG&-.

             : (;&AFK=Q;GFKHAJ=<OAL@+MJ<M=9F<-@G<=KLGAFL=FLAGF9DDQ=F?9?=AFHJG@A:AL=<9;LK 
                 ;GFLJ9JQLG&-.

             ; (;&AFK=Q ;GFKHAJ=< OAL@ +MJ<M= 9F< -@G<=K AF <=;=ANAF? 9F< 9LL=EHLAF? LG <=;=AN=
                 E=<A;9DHJ9;LALAGF=JKAFGJ<=JLGHJGEGL=HJ=K;JAHLAGFKAFNAGD9LAGFG>&-.

             < (;&AFK=Q;GFKHAJ=<OAL@+MJ<M=9F<-@G<=KLGNAGD9L=L@=J=IMAJ=E=FLKG>&-.

             = (;&AFK=Q;GFKHAJ=<OAL@+MJ<M=9F<-@G<=KLGAFL=FLAGF9DDQNAGD9L=&-.

             > (;&AFK=Q;GFKHAJ=<OAL@+MJ<M=9F<-@G<=KLGAFL=FLAGF9DDQNAGD9L=AF<MKLJQKL9F<9J<K

             ? (;&AFK=Q;GFKHAJ=<OAL@+MJ<M=9F<-@G<=KLGAFL=FLAGF9DDQNAGD9L=&=FLM;CQD9O9F<
                 J=?MD9LAGFK9F<

             @ (;&AFK=Q ;GFKHAJ=< OAL@ +MJ<M= 9F< -@G<=K 9F< AFL=FLAGF9DDQ LMJF=< 9 :DAF< =Q=
                 LGO9J< AF<MKLJQ KL9F<9J<K :Q J=?MD9JDQ =F9:DAF? +MJ<M= 9F< -@G<=K LG <AKLJA:ML=
                 =P;=KKAN= IM9FLALA=K G> ;GEEGFDQ 9:MK=<  @A?@DQ 9<<A;LAN= ;GFLJGDD=< KM:KL9F;=K LG
                 =FLALA=KK=JNAF?9HGHMD9LAGFG>AF<ANA<M9DKO@GO=J=9:MKAF?HJ=K;JAHLAGFE=<A;9LAGFK 
                 E9FQ 9<<A;L=< GJ ;GMD< J=9KGF9:DQ := =PH=;L=< LG :=;GE= 9<<A;L=<  GJ LG =F?9?= AF
                 ADDA;AL<JM?LJ9FK9;LAGFK 
                 
              /@= AFL=FLAGF9D 9;LK 9F< GEAKKAGFK :Q (;&AFK=Q D=< LG L@= <AKH=FKAF? G> ;GFLJGDD=<

    KM:KL9F;=K>GJADD=?ALAE9L=HMJHGK=K9F<>M=D=<9HJ=K;JAHLAGF<JM?9:MK==HA<=EA;AF&=FLM;CQ 

              (;&AFK=Q;GFKHAJ=<OAL@+MJ<M=9F<-@G<=KLGE9PAEAR=+MJ<M=\K9F<-@G<=K\HJG>ALK

    9F<L@=MFO9JJ9FL=<=PH9FKAGFG>E9JC=L9F<GN=J9DDGHAGA<K9D=K 

              (;&AFK=Q\KMF;GFK;AGF9:D= MF>9AJ 9F<<=;=HLAN=9;LK9F<HJ9;LA;=KG>>=F<&=FLM;CQ\K

    HM:DA;HGDA;Q 9J=AEEGJ9D MF=L@A;9D GHHJ=KKAN= 9F<MFK;JMHMDGMK 9KO=DD9KE9DA;AGMK O9FLGF 9F<

    E9FA>=KLAF? G> ADD OADD  9F< L@=Q ;9MK=< KM:KL9FLA9D AFBMJQ LG +D9AFLA>>K  $F <GAF? KG  (;&AFK=Q\K

    AFL=FLAGF9D9;LK9F<GEAKKAGFKAF;GFKHAJ9;QOAL@+MJ<M=9F<-@G<=KMDLAE9L=DQKMHHDA=<EADDAGFKG>

    <GK=KG>>J=IM=FLDQ9:MK=< @A?@DQ9<<A;LAN= ;GFLJGDD=<KM:KL9F;=KLG&=FLM;CQH9LA=FLK 9F<AF9DDG>



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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 53 of 54 PageID #: 53




    L@AK (;&AFK=Q O9K J=;CD=KK 9F< ;GFK;AGMKDQ AF<A>>=J=FL LG L@= ;GFK=IM=F;=K G> ALK 9;LAGFK 9F<

    AF9;LAGFK 

              K 9 J=KMDL  +D9AFLA>>K :=;9E= G:DA?9L=< 9F< @9N= H9A< >GJ ?GN=JFE=FL9D K=JNA;=K >GJ

    J=KA<=FLK=PHGK=<LGGHAGA<K OADD<GKGAFL@=>MLMJ= 9F<H9A<>GJGJGL@=JOAK=J=AE:MJK=<L@=;GKLG>

    MFF=;=KK9JQ 9F< GJ AF9HHJGHJA9L= GHAGA< HJ=K;JAHLAGFK  9K O=DD 9K L@= @=9DL@ ;9J= ;GKLK 9KKG;A9L=< 

    <AK9:ADALQ:=F=>ALK9F<OGJC=JK\;GEH=FK9LAGF 

               +D9AFLA>>KK==C9DDD=?9D9F<=IMAL9:D=J=DA=>9K9DDGO=<:QD9O AF;DM<AF? AFL=J9DA9

    ;GEH=FK9LGJQ9F<HMFALAN=<9E9?=K ;GKLK 9F<HJ= 9F<HGKL BM<?E=FLAFL=J=KL


                                       
                                         

                 +D9AFLA>>K AF;GJHGJ9L= L@= 9DD=?9LAGFK OAL@AF 9DD HJAGJ H9J9?J9H@K OAL@AF L@AK

    GEHD9AFL9KA>L@=QO=J=>MDDQK=L>GJL@@=J=AF 

                 GMFL1$$AK:JGM?@L:Q+D9AFLA>>KGF:=@9D>G>L@=EK=DN=K 

              K9DD=?=<@=J=AF99:=F=>AL@9K:==F;GF>=JJ=<MHGFL@=(;&AFK=Q:(;&AFK=QAK

    9O9J=G>L@=:=F=>AL9F<;(;&AFK=Q@9K9;;=HL=<9F<J=L9AF=<L@=:=F=>ALMF<=JKM;@;AJ;MEKL9F;=K

    9KLGE9C=ALAF=IMAL9:D=>GJL@=<=>=F<9FLLGJ=L9AFL@=:=F=>ALOAL@GMLL@=H9QE=FLG>ALKN9DM= 

              (;&AFK=QO9K;GEH=FK9L=<>GJALKOGJCAF;J=9KAF?GHAGA<K9D=K>GJ+MJ<M=9F<-@G<=K 

              /@AK;GEH=FK9LAGF>GJAF;J=9KAF?L@=K9D=KG>+MJ<M=\K9F<-@G<=KHJG<M;LK;GFKLALML=K

    EGF=QAFL@=HGKK=KKAGFG>(;&AFK=QL@9L AF=IMALQ9F<?GG<;GFK;A=F;= (;&AFK=QGM?@LFGL:=

    9DDGO=<LGJ=L9AF 

               +D9AFLA>>K K==C 9DD D=?9D 9F< =IMAL9:D= J=DA=> 9K 9DDGO=< :Q D9O >JGE (;&AFK=Q 

    AF;DM<AF?<AK?GJ?=E=FLG>L@=EGFA=KALJ=;=AN=<>JGE+MJ<M=9F<-@G<=K>GJ(;&AFK=Q\K9;LAGFK

    <=K;JA:=<@=J=AF 

                                                     

                                                     

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        Case 3:21-cv-00326-CHB Document 1 Filed 05/21/21 Page 54 of 54 PageID #: 54




                 (;&AFK=Q\K;GF<M;L9K<=K;JA:=<@=J=AFJ=KMDL=<AF<AJ=;L9F<>GJ=K==9:D= H9KL9F<

    ;GFLAFMAF? <9E9?=K O@A;@+D9AFLA>>K@9N=AF;MJJ=< ;GFLAFM=LGAF;MJ 9F<9J=;=JL9AFLGAF;MJAF

    L@= >MLMJ=  >GJ 9DD G> O@A;@ +D9AFLA>>K K==C J=DA=> 9K LG 9DD ;D9AEK 9F< ;GMFLK  9K 9DD=?=< @=J=AF 

    +D9AFLA>>K9DKGK==CKL@=E=9FKLG9:9L=L@==>>=;LKG>L@=GHAGA<=HA<=EA; AF;DM<AF?:MLFGLDAEAL=<

    LG =;GFGEA;<9E9?=K>JGE(;&AFK=Q9KJ=AE:MJK=E=FL>GJL@=;GKLK9KKG;A9L=<OAL@H9KL HJ=K=FL 

    9F<>MLMJ==>>GJLKLG9<<J=KK H9Q>GJ 9F< GJ=DAEAF9L=L@=@9JEKLG+D9AFLA>>K 

                +D9AFLA>>K<GFGLK==C<9E9?=K>GJL@=OJGF?>MD<=9L@ H@QKA;9DH=JKGF9DAFBMJQLG9FQ

    AF<ANA<M9D =EGLAGF9D<AKLJ=KK GJ9FQH@QKA;9D<9E9?=LGHJGH=JLQ;9MK=<:Q(;&AFK=Q\K9;LAGFK 

                 KKL9L=<9:GN= +D9AFLA>>KK==C9DDD=?9D9F<=IMAL9:D=J=DA=> 9K9DDGO=<:QD9O>GJ

    L@=J=KH=;LAN=;GMFLK9DD=?=<9?9AFKL(;&AFK=Q AF;DM<AF? AFL=J9DA9J=KLALMLAGF<AK?GJ?=E=FLG>

    HJG>ALK;GEH=FK9LGJQ LJ=:D= 9F<HMFALAN=<9E9?=K9LLGJF=Q\K>==K9F<;GKLK9F<HJ= 9F<HGKL

    BM<?E=FLAFL=J=KL

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                                                    ""

    +D9AFLA>>K<=E9F<9LJA9D:QBMJQGF9DDAKKM=KKGLJA9:D= 

               

                                         -=KH=;L>MDDQKM:EALL=< 

                                                 40/"-%0)/40/3       
                                                  -GF9D< %G@FKGF %J 
                                                  .9J9@)  E=JQ
                                                  " "
                                                   2JA?@L\K.MEEAL+9JCO9Q .MAL= 
                                                  !L 2JA?@L &4 
                                                  /=D=H@GF= 
                                                  !9;KAEAD=  
                                                  JBG@FKGFBMKLA;=KL9JLK@=J= ;GE
                                                  K=E=JQBMKLA;=KL9JLK@=J= ;GE
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